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THIS ‘Motion’ Is made and based upon the attached Memorandum of Points

 

 

 

  

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DATED This 13 _ day of Novuhor 20 17,

Respectfully submitted,

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Page 2]

 
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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 23 of 157

CERTFICATE OF SERVICE BY MAILING
I Josenl Mizranl Hx 9, hereby certify, pursuant to NRCP 5), that on tis Zi
Oo Na ei dened, edna Ia faim

i ne rd 4 p y y San Ad) B .
eae Aigh Des tate Prison, Legal Library, First-Class Postage, fully prepaid,

  
 

 

addressed as follows:

 

 

 

 

 
 

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CC:FILE

DATED: this LS _ day of Navempa 201

 

 

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Post Office box se (HDSP]

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Case 3:15-cv-00499-MMD-WGC Documen t123 Filed 12/01/17 Page 24 of 157 @®

EXHIBIT A

DISCIPLINARY HEARING
REPORT

EXHIBIT A
Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 25 of 157 @

 

29
7 O.P. 707
GREG COX ISIDRO BACA
DIRECTOR WARDEN
Nevada Department of Corrections
Northern Nevada Correctional Center
Disciplinary Sanction Notification
inmate_ A 12Zons )__( D367 npoce: LY SY F_

 

}
Date: ae / —_ / Ss Housing: i Be Zz iE
inmate Pled: Guilty Not Guilty oc Sos ft.

Has been found guilty of a violation of the Code of Penal Discipline and has received the following sanctions;

 

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Loss of visiting: All Visits: From: To:
All Contact visits: From: To:
Visits with: From: To:
Loss of Canteen/Store: From: TO: on ne cee
Loss of Phones: From: To:
Loss of Yard Privilege: From: To:
Loss of electrical appliances: Days ASAP Loss of gym privileges: Days ASAP
Extra duty: YLC: hrs. and/or Unit: for hrs.
Restitution: $ TBD
Property loss/forfciture: Return (/M & Date}:
Sent out:
Dispose:
institutional transfer: Recommended Institution:
Stat referral: aX B: Cc:
Parole Board /Attorney General referral: PB AG (Check if applicable)
Other ress EM rraors Na
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Service /Hearing Officer:_] y abr

 

PO Box 7000, Carson City, NV 89702 Phone (77S) 687-9297 / Fax (775} 887-9267

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MIZZONI : EXH A - 001
Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 26 of 157 ©

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” State of Nevada
Department of Corrections
DISCIPLINARY FORM Iii

 

SUMMARY OF DISCIPLINARY HEARING

 

       

INMATE NAME: MIZZONI, JOSEPH 68549 DATE OF HEARING. 05/01/2015 TIME OF HEARING: 01.03 pm
CURRENT LOCATION: = NNCC-U7-B-62-A; . ;NC NAME OF HEARING OFFICER: BRANNON, IRA

LOCATION OF INCIDENT: NORTHERN NEVADA CORRECTIONAL OATE OF SERVICE OF NOTICE OF CHARGES: 04/02/2015
orcs: 390034 CENTER HOUS CHARGING EMPLOYEE: SMITH, CHRIS

    

       

    

soos ADDITIONAL HEARING INFORMATION (05

Counsel Substitute Requested: Me
Name of Counsel

Substitute:
Proceeding Recorded: x
Stat Forfeiture Possible: x
Potential Category:

ae

Offender Cautioned Regarding Possible ,
Criminal Charges and Right to Remain Stent: i X:

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TION i Sy aS Ce Ee ae ‘
Witness Decision Justification: YM Mizzoni requested UM Deyerle #1010262 and UM's testimony was accepted and is as follows:
Four cops came in our house and tore it apart. t know Joe was going to fall the cop that the house
needs to be put back together. When | came oul Joe was on the wall. CO Smith went io grab his
ae arm and Joe said what are you doing. CO Smith took him to the ground and said stop resisting.
He then yelled for everyone to fock down. Other Officers arived and yelled tock down and |
locked down.

Beh EEE te ree op wean peat oe nent
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Mitag ru one yet

SERCDIE SS) NBOGHOUL Decision! siReasont 22% Table
0001010262 ACCEPTED RELEVANT INMATE

CCERRST MOM ER EMS ec VETTORRVONGT

CHECK AT LEAST ONE BOX BELOW

   

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| |. INVESTIGATION OFFICER TESTIFIES PERSONALLY AS TO THE TRUTHFULNESS OF THE CONFIDENTIAL INFORMATION It
_ HIS REPORT.
\W corrosoraTine Testmony

v o. DISCIPLINARY CHAIR HAS FIRST HAND KNOWLEDGE OF SOURCE AND SOURCE HAS BEEN RELIABLE IN THE PAST
' __ IN-CAMERA REVIEW OF DOCUMENTS FOUND RELUBLE

B STATEMENT BY CORRECTIONAL OFFICIAL: SAFETY PREVENTS DISCLOSURE OF CI
CLES ao Oreewwee ,

tees . yee an wry Tat . ?
Pdi PbS SN oh wee

§ didnt do il, | plead not guilly on all charges. | requested video and all V's in the rotunda. (G's showed me pictures claiming i was my
hand thal were doctored. This is a false police report. (want thus in The record.

OF aoe we Bee Sek eee tet

 

Report Name: NVRSDH Page 1 of 4
Reference Name: NOTIS-RPT-OR-0066.9
Run Date: MAY-01-15 01:37 PM

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 27 of 157 @
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State of Nevada
Department of Corrections

DISCIPLINARY FORM Ii!
SUMMARY OF DISCIPLINARY HEARING

 

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INMATE NAME: MIZZON JOSEPH 68549 DATE OF HEARING: 05/01/2015 TIME OF HEARING: 01:03 pm

CURRENT LOCATION: — NNCC-U7-6-62-A,  :NC NAME OF HEARING OFFICER: BRANNON, IRA

LOCATION OF INCIDENT. NORTHERN NEVADA CORRECTIONAL DATE OF SERVICE OF NOTICE OF CHARGES 04/02/2015
CENTER HOUS CHARGING EMPLOYEE. SMITH, CHRIS

 

uM is recent lor this recorded disciplinary hearing and does understand the process. uM cautioned against criminal orpia and of his
fight to remain silent. UM advised thal a plea of guilt waives any right to appeal whalever decision that may be made at this hearing. UM
asked Ul he wants to call any w witnesses and named UM Deyerle #1010262,

 

 

 

08/01/2015 Lt Brannon Officer's report and injuries noted that the Officer was treated for.

 

Report Name: NVRSDH Page 2 of 4

Reference Name: NOTIS-RPT-OR-0066.9
Run Date: MAY-01-15 01:37 PM

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 28 of 157

State of Nevada
Department of Corrections

DISCIPLINARY FORM Ili
SUMMARY OF DISCIPLINARY HEARING

 

 

 

 
  

   

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HEAR! ITH 3 INFORMA ane

DATE OF HEARING: 05/01/2015 TIME OF H HEARING: 01:03 pm
NAME OF HEARING OFFICER: BRANNON, IRA

we
INMATE NAME: MIZZONI, JOSEPH 68549
CURRENT LOCATION: — NNCC-U7-B-62-A; : :NC
LOCATION OF INCIDENT: NORTHERN NEVADA CORRECTIONAL DATE OF SERVICE OF NOTICE OF CHARGES: 04/02/2015
olc#: 390034 CENTER HOUS CHARGING EMPLOYEE: SMITH, CHRIS

 

 

   

M3 ‘Baltery Guilty

 

  
 

 

 

MJ3 Battery Refer to
Disciplinary
Hearing
MJ2 Assault MJ2 Assault Not Guilty
MJ2 Assaull MJ2 Assaull Refer to
Disciplinary
Hearing
G9 Abusive Language G9 Abusive Language Not Guilty
G9 Abusive Language G9 Abusive Language Refer to
Disciplinary
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T amount is determined and posted
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i RECOMMENDED CATEGORY

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:%" POST DISCIPLINARY CLASSIFICATION
GUESTS LULL, NESS HOARINGIISIVERSE CSTE
inmate Defendant Present? Yes
Counsel Substitute Requested No
Stat forfeiture possible? Yes
Proceedings Recorded? Yes
Stat Referral Sent Yes
Report Name: NVRSDH Page 3 of 4

Reference Name: NOTIS-RPT-OR-0066.9
Run Date: MAY-01-15 01:37 PM

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 29 of 157 @
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State of Nevada

Department of Corrections

DISCIPLINARY FORM Ill
SUMMARY OF DISCIPLINARY HEARING

 

 

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INMATE NAME: MIZZONI, JOSEPH 68549 DATE OF HEARING: 05/01/2015 TIME OF HEARING: 01:03 pm

    

CURRENTLOCATION. NNCC-U7-8-62-A, : NC NAME OF HEARING OFFICER: BRANNON, IRA
LOCATION OF INCIDENT: NORTHERN NEVADA CORRECTIONAL DATE OF SERVICE OF NOTICE OF CHARGES: 04/02/2015
oic# 390034 CENTER HOUS CHARGING EMPLOYEE: SMITH, CHRIS

Recommended Category? Cat A

Potential Category? CATA

Cautioned for Possible Criminal Charges? Yes

Reminded of Right to Remain Silent? Yes

Coroboration Testimony for Ci info? Not applicable

Does Investigator Validate Cl? Not appticable

Ooes Chair Validate Ci Source? Not applicable

Are Cl Documents Refiable? Not Applicable

Does Safety Prevent Disclosure of Cl? Not applicable

Was Cl info Accepted? Not applicable

Parole Board Relerat? No

Post Disciplinary Classification? Yes

Oirector Review Required? Yes

Does the offender want a witness Was asked and wants a wilness

oe SIGNATURES: (AND RECEIPT_ ‘DISTRIBUTION «.

DATE OF SERVICE: "1." /‘)___ TIME OF SERVICE: ree LELE (Ofiginal)
PRINTED NAME OF HEARING OFFICER_Z-/. ZSA-av/orl __ tamale Senices (Copy)

SIGNATURE OF HEARING: pen Lt Ge lamate (Copy)

  
  
  
 

SIGNATURE OF INMATE
(Signature indicates receipt only. it i

WARDENIDESIGNEE

 

Report Name: NVRSDH Page 4 of 4
Reference Name: NOTIS-RPT-OR-0066.9
Run Date: MAY-01-15 01:37 PM

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MIZZONI : EXH A - 005
Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 30 of 157 &)
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State of Nevada
Department of Corrections
DISCIPLINARY FORM I
NOTICE OF CHARGES

INMATE INFORMATION 37. RARER 3 REPS E“MIOUATION INFORMATION” 3)

 

        

WO EKET
INMATE NAME: MIZZONI, JOSEPH 68549 - CHARGING EMPLOYEE: Correctional Officer C. Smith
CURRENT LOCATION: NNCC-U?-B-62-A; : ;NC DATE OF INCIDENT: 03/28/2015
OICc#: 390034 DATE CHARGES WRITTEN: 03/28/2015
Soest CHARGES AND EMDENGE wo tae “att wes bee
Chrg Description |.” Uaniesueeeence, «ss Evidence ‘Disposition ©
MJ3: Battery Staff Report
MJ2: Assault Staff Report
G9: Abusive Language Staff Report

   

( On March 28th, “2015. 1 Comectionad © Oficer C. Smith was, ere to ‘veut unt 50 of the Northem Nevada Conoctional Center z as the

z only Officer in tho unit. Al approximately 6:45pm Iwas: approschied’ by inmate’ Stating that he placed a kile in my mailbox with important

§ information. tthen checked my mailbox during the 7:00pm coun! and rolyipved the kite. The kite stated thal there was taltoo equipment in
i the wall of Unit 5 A wing cell 2 I then called search and escoit’ officdes 4 Allison, Ardinger, and S. Smith to assist me with col searches to
5 mako «| appear as random searches. I searched Unit SA cell:2 and hag nepalive results. | then randomly searched B wing cell 29 housing
& mmales Mizzont (#68549) and Deyerlo (#1010262) and had negative results. Search and Escort Officers then departed Unil 5 at

7 approximately 6:30pm. Approximatcly 10 minutes tater at 840pm inmato Mizzoni (#68549) approached my office in an aggressive manner.
3 He smacked my door and sand“ C.O. Shove it up yoursss° 80 | told inmate. Mizzoni To place his hands 6n the wall and that he was being
4 placed in restraints. | ordered the rest of the unil to/Jock” down’ es‘i J atteinpied to make a call for assistance on the radio and was

(3 unsuccassiul duc to inmate Mizzoni tuming off the Wall towards me with his-elbow raised in an attompt to sirike me. I then assisted inmate
tt Mizzoni to the ground in an attempt to restrain him. Throughout the enti aljarcation | was verbally instructing inmate Mizzoni to “stop

12 fesisting” As | struggiod with inmate Mizzoni on the ground he struck me with a closed fist to the right temple. | struggled t [position him on
13 the ground where he could not strike me again. | then ordered sevoral inmates to “get back” because my rotunda was full of olher

jd inmates. & was at this time that twas able to gain control of inmate Mizzoni and call for backup on the radio. Search and Escort Officer
(SArdinger was the firs! to arriva in the unit. At this time twas able to gel wrist restraints onto inmate Mizzoni. As soon as olher Officers

it were able lo lake over restraining inmate Mizzoni I walked cul of the unit to catch my breath. | remained al the front of my unit until aNer

1] responding officers had already removed inmate Mizzoni fom my unil. Iwas: then relieved by Search and Escort officers to go to medical
tgtor an evaluation and fill out a C-1 form. END OF REPORT.

 

  

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“SUBERVIBOR SIGNATURES:

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CHARGING EMPLOYEE SIGNATURE ©’ Fy

  
  

 

 

 

   
  

 

 

SERVICE OF NOTICE OF CHARGES * DISTRIBUTION” cer
DATE OF SERVICE: 9-4 SrIme OF SERVICE Primary Hearing Officer (Onginal)
PRINTED NAME OF HEARING OFFICER) [73/7 Charging employee (Copy)
SIGNATURE OF HEARING Of FICER
SIGNATURE OF INMATE oO) : tomate (Copy)
(Stgnature indicates receipt of onty. it ts not a plea, rohssel’ to sign should be noted)
Report Name: NVRNOC oo es Page 1 of 1

Reference Name: NOTIS-RPT-OR-0061. 4 . ae
Run Date APR-02-15 02:19 AM - ot

MIZZONI Gm: EXH A - 006
State of Nevada
Department of Corrections

DISCIPLINARY FORM Il
SUMMARY OF HEARING OFFICER'S aun fx DISPOSITION

 

 

  
  

  
 

   
 
  
   

       

omy re RRO PATRON RS SiR Wh]
INMATE NAME: MIZZONI, JOSEPH 68849 : OATE OF HEARING: 04/04/2015 TIME OF HEARING: 01:27 am
CURRENT LOCATION: NNCC-U7-8-62-A; : ;NC NAME OF rs OFFICER: HILL, JOHN

 

DATE OF SERVICE OF NOTICE OF CHARGES: 04/02/2015

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trl are One. Rechavatcnt ae feted

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04/04/2015 Mizzoni : ‘Once Fao : ‘

 

Counsel Substitute Requested: ae Name of Counsel Substitute: im Be Determined

 

Report Name: NVRSID Page 1 of 2
Reference Name: NOTIS-RPT-OR-}062.8
Run Date: APR-04-15 02:56 AM

g79 Aunt
MIZZONI oe ay EXH A - 007
 

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State of Nevada
Department of Corrections
DISCIPLINARY FORM Il

SUMMARY OF HEARING OFFICER'S INQUIRY AND DISPOSITION

 

 

INMATE NAME: MIZZONI, JOSEPH 68549 DATE OF HEARING: 04/04/2015 TIME OF HEARING: 01:27 am
CURRENT LOCATION: NNCC-U7-B-62-A; : ;NC NAME OF HEARING OFFICER: HILL, JOHN
OICH, 390034 DATE OF SERVICE OF NOTICE OF CHARGES: 04/02/2015

  
 
    

Charging employes (Copy)

SIGNATURE OF INMATE _~+, lamate (Copy)
(Signature Indicates receipt only, ot a plea; refusal to sign should be noted)

Report Name: NVRSID Page 2 of 2
Reference Name: NOTIS-RPT-OR-0062.8
Run Date: APR-04-15 02:56 AM

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MIZZONI ao lt. EXH A - 008
Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 33 of 157 (@

ADMINISTRATIVE SEGREGATION
CLASSIFICATION RESULTS NOTICE

To:___Mizzoni 68549 Date: 3-31-15

From: Classification Committee Institution: NNCC.-

Your request to be classified from Administrative Segregation to the General
Population has been considered with the following results:

1. Your request has been approved

___a. Re-integration can take place now
b. Re-integration is subject to 60 day plan (see reverse side)

2._X__ Your request has been disapproved based upon the following consideration(s).
(see reverse side for list of protracted goals)

__ 4. History of repetitive intuitional violence, assaults, fights.
___ b. Repetitive involvement in controlled substance abuse.
c. Sexually assaultive behavior.
d. Escape or recent attempted escape.
e. Prison Gang Affiliation
_X_ f. Other.
Explanation of above (required) _ pending OIC for officer assault

 

 

 

 

 

3. Your request has been deferred for _30 .. days, for the following reason(s)

 

Your next review before the Classification Committee is: _ 4-30-15

Associate Warden Associate Warden

J Rexwinkel Re
Unit CCS ccs

 

 

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CC: 1 File, C Fite
Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 34 of 157 ow
Ie. Zas-yywee-wooszs
“ADMINISTRATIVE SEGREGATIOW
NOTICE OF CLASSIFICATION HEARING

. a

INMATE'S NAME: M2200, Sosedu —sumnee (68549 _ pate: Masel, 2%, QO1S—
You have been moved to a lock-up arca of: NNc ££. VW) 2 = BK 2n A

(Institution)
You will appear before an Administrative Segregation Classification Committee on:

Ja20s S:00amn NNcc

 

 

 

 

 

(Date) (Approximale tume) (Location)
REASON: \ couO\ Ot.
PROVISIONS
b You may have the assistance of inmate substitute counsel or a staff member in preparing for the mecting. The

substitute counsel or staff member may aticad the mecting with you. You shall be expected to be responsible for your
own presentation cxcept in those situations where assistance +s necessury to an adcquate presentation of your case duc
to your illitcracy, complexity of the issucs involved, of othe reason decmed sufficient by the Committee.

INMATE SUBSTITUTE COUNSEL/STAFF ASSISTANCE REQUESTED: yh YES ( )NO
name: Lees bikey

You may present witnesses and written statements to the Committee and you or your substitute counscl/stalf member
assisting may ask questions of persons participating in the mectiny unless doing so would be redundant, isrclevant, or
unduly hazardous to the institution's security or correctional goals. Witnesses may be excluded if their testimony is
irrelevant, redundant or otherwise unnecessary or would jeopardize security.

WITNESSES REQUESTED: Aves (NO
NAMES: Ch (14 Duce.

we

3. tn the event that the Committee 15 concerned with your alleged involvement in an incident for which you could face
criminal charges, you have the right to remain sifent at the mecting and to know that anything you say at the mecting
may be used against you in a criminal prosecution.

4. In addition to the specific reasons for which the mecting is being conducted, the Commitice may consider your past and
present institutional attitude, adjustment and record and criminal record

5. ‘This Notice is only required at the initial Administrative Segregation Classification Commutice Hearing. Subsequent
hearings, if required, are set forth by Departmental regulations.

6 if the Warden/Designee has reasonable cause to believe that you are an immediate danger to yourself or to others, or to
the sccurity of the institution, he may place you in Adnunistrative Segregation prior to an Administrative Segregation
mecting. In such an cvent, the mecting shall be held within three (3) working days aficr you are placed in Sceregation
This period may be extended by special approval of the Warden. You shal! be notified, in writing, of any such
extensions and the reasons thercfor.

Mech a5

Warden/Defignee Date/Time Inmate's Signature Date/Time

ReLused to son C/o Nlisen

ce: Original - -File Se 7 RM taf
Canary - Inmate 7.

Pink - Custody Cof-
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3g
1.) INMATE NAME pice ©@ (3) HOSS NE ER 3.) DATE
Jeep Mizzod OFSY? GQ ¢L17 LAE
4.) REQUEST FORM TO: (CHECK BOX) __MENTAL HEALTH __CANTEEN
__CASEWORKER ___MEDICAL __LAW LIBRARY __DENTAL
___ EDUCATION __VISITING __SHIFT COMMAND
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9.) RESPONSE TO INMATE

   
  

 

 

 

 

 

 

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eyay 3/17/91 5/2/91
ADMINISTRATIVE REGULATIONS Supersedes:

IB 91-32 dated 4/1/91
AR 422 dated 3/24/83) |

 

 

 

 

 

CHAPTER: Subject:
INSTITUTIONAL MANAGEMENT Search and Shakedown Procedure
I. PURPOSE

To provide written policy and procedure governing the frequency and manner for
conducting searches of institutions/facilities under the jurisdiction of, or
contracted by, the Department of Prisons, and inmates, employees, and visitors
for the control? of weapons and contraband, and to ensure the legal protection
of all parties concerned.
II. AUTHORITY

NRS 209.131, 209.239 and 209.423.

III. POLICY
It is the policy of the Department of Prisons that searches of its
institutions/facilities and inmates, employees and visitors are an essential
element in the maintenance of safety and security.

IV. DEFINITIONS
A. Living Area Inspection

The outside visual examination of an inmate’s room, cell or other living
area and their contents.

8. Cell Search
A detailed inspection of the cell made specifically to ascertain that the
room is contraband free and to locate and retrieve any contraband secreted
in the room.

C. Area Search

The searching of a large area, such as a warehouse or visiting room, or any
other area larger than a cell.

D0. Clothed Body Search

The examination of a person by running the hands over his clothed body in

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H.

an attempt to locate contraband.

Unclothed Body Search

The visual inspection of all areas of the unclothed body including the
anal, oral and genital areas.

Vehicle Search

The inspection of any vehicle, for items not permitted by law, policy or
procedures.

Appliance Search
A detailed examination of any appliance such as a television set, radio or

stereo owned by an inmate, or any musical equipment, etc., in which
contraband may be secreted. These searches are to be made by qualified

maintenance personnel only.
Security Inspection

The searching of the perimeter or of any housing unit, warehouse, or other
area for breaches of security, security hazards and contraband.

Cavity Search
The physical inspection of any bodily orifice.

Locker Search

The searching of the locker and sleeping area of any inmate assigned to a
dormitory setting.

Special Searches

Any search not defined under the above.

V. PROCEDURE

 

A.

Each Warden/Manager is responsible for formulating and implementing
institutional procedures governing the search of institution/facilities,
inmates, employees and visitors under their jurisdiction. The procedure
must meet requirements under the law and the guidelines of this regulation.
The search procedure must provide for search policy orientation for all
employees and the training of all persons who will be required to conduct

searches.

1. The shift supervisor will be responsible for the supervision and
coordination of all search activities and, at the end of each shift,
will prepare a summary of areas searched and significant findings.
Copies of the search summary will be distributed to the warden and each

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division head affected.

All managers and Supervisors are responsible to ensure their
subordinates are aware of and comply with the departmenta} search
Policy. Managers and supervisors shal] Provide on-the-job training;
schedule searches as may be required; Provide general Supervision of
scheduled search activity and review all related reports.

Search Plan Requirements:

Each Institution/Facility’s search plan and procedure must Provide for:

1.

10.

Unannounced and irregular timed searches of cells, dormitories, and
living areas inmates and their work/assignment areas.

Frequent search and careful supervision of inmate workers both inside
and outside the security area.

Inspection of a1] vehicular traffic, Supplies, Packages and mai}
entering the institution/facility.

Use of metal detectors where ever feasible.

Complete search and inspection of each cell, or living area, prior to
occupancy by a new inmate, in so far aS possible,

Written authorization by the Warden/designee to conduct other than
routine searches of visitors, employees and/or inmates and/or their
property.
Specific detail governing the authorization and method for conducting
unclothed and body cavity searches of inmates, visitors and/or
employees,

Post Orders describing minimum search frequency requirements, authority
and method of accomplishment.

A walk-through metal detector is to be used at al} major institution
entrance buildings to inspect al? persons visiting.

Frequency of search.

Each institution’s/facility’s search procedure must include minimum
search frequency.

a. Housing Areas:
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1. In so far as possible, a cell, room, dorm or living area and
locker will be searched immediately upon its vacancy and again,
if there is a significant time lapse, before it 1s reassigned.
Such inspections are required and must be recorded for
segregation, disciplinary detention and security housing unit

cells.

2. Every reasonable precaution will be taken to avoid damage to
personal property and to leave the inmate’s quarters and
property in good order upon completion of the search. Any
damage to personal property will be reported in writing to the

shift supervisor.
—_—~
b. Work and Non-Housing Area Searches:

1. Teachers, work supervisors and instructors are responsible for
daily security and contraband searches of the areas they
supervise. Custody Post Orders should include ongoing searches
every day. A thorough search of each inmate, work area,
assignment shop and classroom is to be conducted on a routine
basis as determined by the Warden.

2. Inmates are subject to an inspection of their person either
clothed or unclothed when there is cause to believe the inmate
may have unauthorized or dangerous items or substances
concealed on their person. Such inspections may also be a
routine requirement for inmate movement. Spot check
inspections of inmates may also be authorized by the
Warden/designee as a means to prevent the possession and
movement of unauthorized and dangerous items and substances
into, out of, or within the institution/facility.

3. The Associate Warden Programs/Faci lity Manager will ensure that
regular and routine visits are made to community work sites by
designated staff members and that reports of these visits are

prepared.

At no time are inmates (medically trained or otherwise) allowed to
participate in the search of any person.

C. Degrees and Types of Searches for Inmates

1.

The degree and intensity of the search will be the least required to
bring the search to a conclusion. As the search progresses, with each
new piece of evidence to support the presence of contraband, the inmate
will be given ample opportunity to voluntarily remove and surrender the

contraband.

Each degree of the search must be thoroughly evaluated in order to
determine cause to proceed with a more intrusive method of search.

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a. Routine searches will be conducted for preventive as well as
evidence gathering measures. Authorization is derived from
administrative or supervisorial orders or directives.

b. Oral cavity searches may be conducted visually as a routine element
of any search of an inmate. When evidence indicates an inmate is
concealing contraband in his/her mouth, the following steps will
be taken:

1. The inmate will be restrained or placed under constant visual
observation.

2. No restraints or holds may be applied in any manner which
inhibits breathing or Swallowing. However, the inmate may be
physically controlled and isolated from other inmates if
necessary in order to avoid his/her disposal of the contraband.

3. When there is reasonable belief that contraband has been
swallowed, any attempt to retrieve the contraband will be
accomplished by the physician or physician’s extender.

When an employee has reasonable belief that an inmate has contraband
in a body cavity, the employee’s supervisor will be immediately
notified. All information which may establish reasonable belief for
a search will be submitted to the highest ranking custody officer on
duty or the facility manager for evaluation. Reasonable belief may be
established from the following evidence:

a. Confidential information from a reliable source.

b. Irregularities found in the area of the body cavities during an
unclothed body search.

c. Detection of contraband on the person of an inmate’s visitor after
physical contact with the inmate, and with reasonable belief that
the visitor’s possession of contraband was for the purpose of
smuggling it into or out of the institution.

d. Any other objective evidence that would indicate that the inmate
has contraband secreted in a body cavity.

Authorization for a Body Cavity Search

Authorization to initiate a body cavity search requiring any degree of
intrusion must be given by the Warden, Acting Warden, or AOD after
consideration of the following:

a. Assurance that reasonable belief is not dependent upon the outcome
of the search.
 

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b. The search is related to institution or facility security, the
safety of persons, or to evidence involving a criminal offense.

c. Prior to the initiation of the first phase of the search, and
before each successive escalation of the search, the individual
will be given ample opportunity to voluntarily remove and surrender
the contraband.

d. Documentation will be as outlined in Section "G" of this
regulation.

Types of searches include:

a. Visual and metal detector searches;

b. X-ray examinations;

c. Physical intrusions by physicians or physician extenders;
d. Physical isolation and observation;

e. Surgical removal.

All searches listed above in this section (Section C, 6), excluding
sub-paragraph a, will be conducted in a medical setting under the
supervision of authorized medical personnel. X-ray examinations will
be conducted as ordered for medical reasons and interpreted by
qualified medical personnel. Any physical intrusion into a body cavity
must be performed by a physician or physician’s extender. Any less
qualified staff will only be utilized to supervise and control the
inmate.

Provisions for Different Types of Inmate Searches

a. Clothed Body Search

Custody Post Orders will require spot-check clothed body searches
of inmates or when cause is established. The routine search of
inmates entering and/or leaving certain specified areas is not
precluded.

b. Unclothed Body Search .

Correctional personnel, other than qualified medical personnel,
will not conduct unclothed body searches or inspections of an
inmate of the opposite sex except in an emergency, i.e., riot,
escape, etc. This does not preclude routine inspections or
searches of clothed inmates without regard for the sex of the
inmate or of personnel making such inspections or searches. All
unclothed body searches will be conducted in an area out of view
of others, to the extent possible. In high security units, the

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c.

safety of staff and inmates precludes total privacy. In these
areas, unclothed body searches will be conducted with the most
privacy available, considering the unit design and Post Orders.

Body Cavity Search

Any search or inspection of an inmate’s body cavity, other than
visual or metal detector inspections, wil] only be conducted after
reasonable belief has been established and upon orders of the
Warden, Acting Warden or AOD. (Refer to Section C, paragraphs 4
and 5 of this Regulation).

Any physical intrusion into an inmate’s body cavity must be
performed by a physician or physician’s extender in a medical
setting.

In conducting any search of an inmate’s body cavity, the
individual’s right to privacy of his/her own body may be abrogated
to the extent necessary to preserve the security of the institution
and the safety of persons. The essential element required to
initiate a body cavity search is reasonable belief.

Inmates will be given ample opportunity to voluntarily remove and
surrender the contraband.

Inmates will sign an Inmate Consent for Body Cavity Search (pop-
2566) form authorizing their consent. If an inmate does not
consent, he/she will be advised that a non-consensual, forcible
body search may take place under conditions permitted by Nevada and

-Federal Law.

Oral Cavity Search

When an inmate is Suspected of having secreted contraband in
his/her mouth, or when the inmate attempts to swallow the evidence,

X-Ray Examination

X-ray examinations for the Purpose of confirming the ingestion of
contraband or concealment of contraband in body cavities will be
utilized only upon the approval of authorized medical Personnel and
under the same medical requirements and Precautions as apply to any
X-ray examination for medical reasons. An x-ray examination must
be ordered and interpreted only by a physician/physician’s
extender, who will make the following determinations:

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4. Whether or not a foreign object(s) is within the inmate’s body.

2. A determination, if possible, of the nature of any foreign
object(s).

3. The effects of forcible removal or failure to remove the
foreign object(s) upon the inmate’s health and safety.

4. Recommendations for consideration regarding the least intrusive
way to retrieve the contraband.

Supervision of Searches

All searches other than routine searches and each progressive step in the
search process must be made under the direct supervision of supervisory
staff at not less than the level of correctional sergeant.

Quarantine

1. When it becomes apparent through medical examination that an inmate has
ingested or concealed contraband in his/her body, and the inmate cannot
or will not voluntarily remove and surrender the contraband, or when
the physician/physician’s extender has determined that the physical
removal of contraband may be hazardous to the health and safety of the
inmate, the inmate may be placed in a medically approved isolated
setting under constant visual supervision until the contraband can be
retrieved through natural means.

2. This natural alimentary canal process will be used as an alternative
to forcible intrusion into body cavities or surgery when a
physician/physician’s extender determines that the natural method is
feasible and does not pose a hazard to the inmate’s health and/or

safety.
Forcible Retrieval

The forcible retrieval of contraband by intrusion into the inmate’s body
will be avoided except as follows:

1. When a physician/physician’s extender has determined that failure to
remove the contraband presents an imminent danger to the life of the
inmate; or

2. The contraband is clearly identifiable and constitutes a clear and
present danger to the security of the institution or the safety of
other persons; or

3. The contraband must be retrieved but cannot be retrieved by any less
intrusive or forcible manner.

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4. Surgical removal of contraband from the body of an inmate shall be the
decision of the Medical Director/designee and in keeping with the
rights of the individual.

G. Documentation

1. Complete and detailed documentation of al} body cavity searches, and
other non-routine searches, will be submitted to the Warden by all
staff involved in the Process, including medical personnel if
applicable.

2. The report will include the following information:

a. Chronology of events leading up to the search and escalation of the
search process.

b. Name and rank of all persons participating in the search process
or supplying information which justified the search.

c. Whether or not the inmate signed a consent form for a body cavity
search, if applicable.

d. All evidence and information regarding the justification for each
degree of the search.

e. Results at the conclusion of the search.

3. When body cavity searches are conducted, the person authorizing the
search will send a complete, comprehensive report to the Director
outlining the evidence relied upon in establishing reasonable belief.
A complete report from the medica] personnel involved, detailing how
the search was accomplished, what problems if any occurred, and the
final result will also accompany the report to the Director.

H. Search of Visitors and Employees

1.

Warning Sign

Each Institution/Facility will post a warning sign Stating that
entrance onto the Property of the prison constitutes consent to be
searched.

Degrees and Types of Searches

a. Any person coming onto the grounds of an institution/facility or
any DOP contracted facility, their vehicle and the articles of
property in their possession are subject to inspection to whatever
degree is consistent with security needs. Such inspections may
include a search of the visitor’s/employee’s person, property or
vehicle. The search of a visitor/employee and/or his/her property
will only be made pursuant to consent; or after a warrant has been

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obtained; or where there is probable cause to believe a crime has
been or is being committed, that evidence will be found and there
are exigent circumstances without consent. Exigent circumstances
exist when there is probable cause to believe that the contraband
and/or unauthorized weapon will be destroyed if the search is not
immediately undertaken and under the circumstances there is no time
to obtain a search warrant.

The degree and intensity of the search will be the least required
to bring the search to a conclusion. As the search progresses,
with each new piece of evidence to support the presence of
contraband, the visitor/employee will be given ample opportunity
to remove and surrender the contraband.

Each degree of the search must be thoroughly evaluated in order to
determine reasonable cause to proceed with a more intrusive method

of search.

4. Clothed body searches and metal detector inspections may be
conducted in a routine manner for preventive as well as
evidence gathering measures. Authorization is derived from
administrative or supervisorial orders or directives...

2. Unclothed body searches will be only conducted pursuant to the
employee/visitor’s consent or after a search warrant has been
obtained or where there is probable cause and exigent
circumstances (as defined in H, 2, a, of this regulation).

3. Body cavity searches of a visitor/employee will only be
conducted after a search warrant authorizing a body cavity
search has been obtained.

Correctional personnel, other than qualified medical staff, will
not conduct unclothed body searches or inspections of
visitors/employees of the opposite sex.

No restraints or holds may be applied in any manner which inhibits
breathing or swallowing. A person may be physically controlled and
isolated from other persons if he has been arrested and is awaiting
transport. Under these circumstances, the visitor/employee wil]
remain under constant supervision.

All searches other than the clothed body search or metal detector
inspection and each progressive step must be under the general
supervision of supervisory staff not less than the level of a
correctional sergeant.

Documentation

A complete and detailed report will be submitted to the Warden by
the highest ranking custody officer no later than the first working

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day following any extraordinary search of a visitor/employee. The
report will include the following information:

1. Chronology of events leading up to the search and escalation
of the search process.

2. Name and rank of all persons Participating in the search
Process or supplying information which justified the search,

3. All evidence and information regarding the justification for
each degree of the search,

4. Results at the conclusion of the search,

The reporting requirements as Outlined in AR 121 -- Incident
Reporting and Notification Requirements must also be met.

Employees

All employees of the Nevada Department Of Prisons shall be advised that
their person, vehicle and articles of property in their Possession are
subject to inspection to whatever degree is consistent with. the .
institution’s/facility’s security needs. An employee who declines to
submit to a requested search will be subject to disciplinary action;

Visitors of Inmates

a. Refusal to submit to a requested search will result in the visitor

b. Denial of an initial application to visit, and any subsequent
restriction, suspension, or termination of Previously approved
visits, shall be documented for inclusion jin the inmate’s
institutional file and a copy sent to the applicant or Visitor as
SOON as practicable. Such document shal} include the name of the
official taking or ordering the action; shal] clearly explain the
reason for the action, the length of time the action will apply,
the circumstances under which the action will be reconsidered, and
instructions for appealing the action taken.

c. Visitors are to be processed through meta] detectors, Those
Persons unable to clear the metal detector are to be given the
following options:

1. Cancellation of the visit,
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2. Submit to a clothed body search.
3. Submit to an unclothed body search.

5. Use of Force Prohibited

When a visitor/employee is suspected of having secreted contraband
in his/her mouth or attempts to swallow the evidence, No attempt
will be made to retrieve the contraband by force.

The person may, however, be physically controlled and isolated from
other persons if necessary in order to avoid disposal of the
contraband. Under these circumstances, the visitor/employee will
be under constant visual observation.

VI. REFERENCES
ACA Standards, 1990 Edition, 3-4184, 3-4185, 3-4186, 3-4269, and 3-4445.

   

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RON ANGELONEY DIRECTOR
NEVADA DEPARTMENT OF PRISONS

THIS PROCEDURE SUPERSEDES ALL PRIOR WRITTEN PROCEDURES ON THIS SPECIFIC SUBJECT.
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PURPOSE —
To establish an inmate disciplinary system within the Department. (3-4215)
7 % oo
J Toestablish policy and procedures for the inmate disciplinary process that will:

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| : So

e Maintain security, control and safety.
¢ Define and give notice of unacceptable behavior.
e Specify the range of sanctions that may be imposed for a violation. (3-4214)
¢ Establish guidelines for the conduct of the disciplinary process. |
. ¢ Maintain a record of disciplinary action and activities. |
AUTHORITY |

- NRS 209.131
NRS 209.246

RESPONSIBILITY _

| % The Associate Warden of Operations is responsible for the management of the inmate disciplinary
process.

All staff and inmates are responsible to have knowledge of and to comply with this procedure.
DEFINITIONS

AUSTERE HOUSING ~ A medium-custody form of separation from the general population
assessed by a Disciplinary Hearing Officer in which an inmate’s privileges may be restricted.

AUTHORIZED PROPERTY - Authorized property is that which is defined in Administrative
Regulation 711 or regulations of Department contractors, and that property pemnitted under
Institutional Procedures peculiar to a particular institution or facility. Any and all other property,
yt including but not limited to altered authorized property, is considered contraband.
“\ .
Q) x CHARGING EMPLOYEE — The person who submits the Notice of Charges.

CHART OF DISCIPLINARY SANCTIONS -— The matrix used by an inmate disciplinary
process, which sets forth the range of sanctions for violations of AR 707.

CODE - Code of Penal Discipline
CONTRABAND —
e Any item or article not authorized by departmental regulations, or in excess of the

maximum quantity permitted, or which is received or obtained from an unauthorized °
source is contraband; and, .

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e Any item or article of property that poses a serious threat to the security of an institution
and is ordinarily never approved for possession or admission into the institution, and any
item or article which may be, or has been authorized for possession at one time, but now
is prohibited for possession due to health, fire or safety concerns; and,

e Any authorized property that has been altered.

' COUNSEL SUBSTITUTE - Any inmate assigned by the classification committee to assist
another inmate charged with a violation of the Code.

DEPARTMENT -— The Nevada Department of Corrections.

_ DISCIPLINARY CASE - A term intended to describe the total violations arising out of a single
incident and included together on a Notice of Charges.

DISCIPLINARY DETENTION - A form of separation from the general population, i in which an
inmate is confined to a single-occupancy cell, without privileges, for a period not exceeding 15 days
in any 30 day period.

DISCIPLINARY HEARING OFFICER - A correctional employee who resolves all cars
which are not disposed of by the Preliminary Hearing Officer. _.

DISCIPLINARY PROCESS - This term is intended to describe the collective steps necessary to
- pesolve a violation, including the service of the “Notice of Charges”, the “Preliminary Hearing

- Officers Inquiry and Disposition”, the “Disciplinary Hearing”, the “Appeal” (if any), and any
incidental tasks such as referrals for sentence credit forfeiture and parole revocation.

DISCIPLINARY SEGREGATION - A form of separation from the general population in which
an inmate’s privileges may be restricted.

EMPLOYEE - A person legally holding a position with the Department in the public service as

defined in NRS 284.015.

EXCEPTIONAL CIRCUMSTANCES - Circumstances involving safety, security and inmate
management necessitating exceptions to procedures.

FORFEITURE - Permanent loss of property.
- MONETARY RESTITUTION — Payment by an inmate, as defined in NRS 209.246.

NEVADA CORRECTIONS INFORMATION SYSTEM (NCIS) - An integrated, micro-
computer based information system used to manage the inmate population through the

employment.of applications related to count, supervision, sentence management, classification _

and casework, planning, and statistical activities.

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m= x NOTICE OF CHARGES - The document used to describe the incident and list the disciplinary
charges against the inmate.

OFFENSE/VIOLATION ~ In the context of this regulation the words “offense” and “violation”
have been used interchangeably and have the same meaning. That is, conduct which is prohibited
by this Code. . .

Wy PRELIMINARY HEARING OFFICER - An impartial correctional employee who presents the
written: Notice of Charges to the accused inmate and advises the. inmate of the procedures
applicable under the Code.

STATUTORY GooD TIME CREDITS - Automatic credits allowed against an inmate’s
sentence for parole or discharge as provided in the Nevada Revised Statutes, also referred to as
“ee C re di ts”. : :
APPLICABILITY

This procedure applies to all employees and inmates in the Department.

PROCEDURES

707.01 DEPARTMENT POLICY

? 1.1 Inmates committed to the Department shall be subject to disciplinary action for violations of
the Code. |

@ x 1.2 _ Disciplinary action should be taken as soon after the misconduct as is practicable. .
Y€ 13 Discipline should be applied in an impartial and consistent manner. |
9 % 1.4 Corporal punishment or inhumane treatment is prohibited. (3-4268)

15 Prison disciplinary proceedings are an administrative process, unrelated to and not bound by
the rules for criminal procedure, civil trials, administrative codes or procedures. .

1.6 Uponentry, all inmates shall be issued, and required to sign for, a copy of the Code.
(3-4216)

e Signed acknowledgment will be maintained in the inmate’s I-file.

e When a literacy or language problem prevents an inmate from understanding the Code,
a staff member or translator will assist the inmate in understanding the rules.

1.7 The Code will be available to all inmates. Availability is satisfied if a copy is kept in the
institutional law library or in the living units for those facilities without a law library.

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1.8 All inmates are assumed to have notice of this Code.
1.9 Within the prison disciplinary process an inmate has access to three procedures:

x e At least 24 hours prior to any formal hearing before an impartial Disciplinary Hearing
_ Officer a Notice of Charges will be served. .

YZ © A qualified opportunity to call witnesses with substantive knowledge of issues and.

present documentary evidence provided that to do so will. not jeopardize institutional
security or correctional goals. .

A ° A written statement by the Disciplinary Hearing Officer as to the evidence relied on and
the reasons for the disciplinary findings. —_

1.10 Reliance on any published standard, the use of mandatory language, if such exists, or the

creation of procedures related to the conduct of the disciplinary process, including but not limited to

timeframes, witnesses or appeals is solely for the purpose of providing guidance for employees and
shall be considered representative of the manner in which the Department has chosen to exercise
it’s discretion in such matters. .

e The failure of any employee of the Department to follow any procedure shall not result
in any mandatory outcome, e.g., dismissal of charges, but shall be one of many factors

to be considered in exercising discretion as to the outcome of any violation.
1.11 Any disciplinary case may be continued so that the Preliminary Hearing Officer or the
Disciplinary Hearing Officer may obtain guidance from the Attomey General’s Office concerning
any matter in this Code.

1.11.1 Inmates do not have any right or privilege to request or participate in obtaining
guidance from the Attorney General’s Office.

1.11.2 The guidance may be sought either in writing or verbally.

1.11.3 Such requests for guidance shall be made only if there is confusion as to the
application of the guidelines set forth in this Code. . | .

1.11.4 The Office of the Attomey General shall not be asked to render any opinion as to the

ye ( "guilt or innocence of an inmate facing disciplinary charges.

707.02 DISCIPLINARY PROCESS STRUCTURE
1.1. The inmate disciplinary process is divided into four major areas:
© Notice of Charges (NDOC-3017)_ |
° Preliminary Hearing Officer's Inquiry and Disposition (NDOC-3018)
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e Disciplinary Hearing (NDOC-3019)
. OD Appeals
707.03 INMATE TRANSFERS

1.1 When conduct requires an inmate be transferred from one institution or facility to another,
any pending disciplinary cases should be completed prior to the transfer.

e If circumstances are such that the transfer must proceed prior to completion of the
receiving institution shall complete the disciplinary process.

e The receiving institution will review the inmate’s status within three (3) working days
of receipt. (3-4223)

° Cones of the completed spina will be feturned to the sending institution.

   

707.04 INMATE DISCIPLINARY PROCESS
“€ 1.1 Notice of Charges

1.1.1 Upon the reasonable belief of a correctional employee that a Code violation has

U CR been committed, the employee shall file a Notice of Charges using DOC Form 3017, before

the completion of their shift and submit it to the shift supervisor.

X% L111 if a non-Department employee observes a violation, a report shall be
submitted to the AWO who will designate a Departmental-charging employee.

1.1.1.2 If a violation is a result of an investigation, the investigator may submit the
charging employee.
1.1.2 The report shall be a factual and professional description of the violation.
e Opinions and assumptions shall not be included.
_ Recommendations shall not be included.

1.1.3 ~The report shall contain specific details of the violation, including the following:
(3-4221)

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disciplinary process, the sending institution shall prepare the Notice of Charges and the

Notice of Charges or the investigative report to the AWO who may designate a

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e - The name and ID number of the inmate committing the alleged violation.

e The date and time of the violation. |
© Evidence, if collected, and location.

The facts surrounding the violation, in chronological order.

e Any immediate action taken. | | |

e The names of witnesses to the violation, if any.
e The exact disposition of any evidence involved.
© The title, printed name, and signature of the reporting employee.

1.1.4 “The institution will have procedures in place to insure the following:
; . Review by shift supervisor. |
e Assigning of charges.
. ) ‘e Input information into the NCIS.

e Designate a Preliminary Hearing Officer.

° Begin the process to determine if restitution is applicable.
‘1.1.5 In the event of a serious incident the shift supervisor will:

“© Collect all reports of the violation.
© Refer for investigation or have a Notice of Charges initiated.
°- ~ Complete the process as stated in 1.1.4

11.6 _ In the event of an investigation, the investigator may complete a Notice of Charges
or submit a report to the institutional Warden who will insure that a Notice of

Charges is initiated. (3-422)

© Once the Notice of Charges has been prepared the remaining B steps will be
followed as stated in 1.1.4.

1.1.7 “Handling Minor Violations Without a Notice of Charges (3-4218)

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1.1.7.1 In the case of minor violations, a correctional employee may correct an
inmate’s behavior by a warming and/or counseling.

1.1.7. 2 An informative or counseling report may be made at the discretion of the
employee.

1. 1.7.3 Such a report shall be provided to the inmate’s caseworker, for inclusion in
the inmate’s file.

A 1.7 4 A copy shall be provided to the inmate.

1.1.8 The AWO will designate supervisor(s) to act as a Preliminary Hearing Officer and
Disciplinary Hearing Officer.

d 1.1.8.1 The Preliminary Hearing Officer must have the rank of Senior Correctional
Officer ¢ or above. -

"1.1.8.2 The Disciplinary Hearing Officer-must have the rank of Sergeant or above.

e In conservation camps, the caseworker may act as the Disciplinary
Hearing Officer. .

as 1.1.8.3 All supervisors involved in the disciplinary process should be impartial i in
that they:

e Did not witness or investigate the alleged violation.
e Were not a victim of the alleged violation.
"© Did not participate in the writing of the Notice of Charges.
gait. Did not sit as a/member of the classification committee, which
ig We authorized pre-di iplinary Eeseeeasuuen for the same offense.

~~
e Were not the Preliminary Hearing Officer for the same offense.

 

1.1.8.4 A supervisor is not necessarily partial based on such facts as:
_@ Having general knowledge of the case through the‘ ‘grapevine”
° Being the subject of grievances and lawsuits brought by the inmate.

e Having a previous unpleasant encounter with the inmate.

* © Having knowledgé-of the case by virtue of having heard the violations of
others included in the same incident.

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1.1.85 The lists noted in 1.1.8.3 and 1.1.8.4 are not exclusive.

11.9 If additional evidence i is discovered subsequent to the disciplinary hearing and new
charges are warranted, an additional notice of charges may be initiated.

Preliminary Hearing Officer’s Inquiry and Disposition

1.2.1 Review of Charges

1.2.1.1 As soon as practicable after receipt, an impartial Preliminary Hearing

Officer shall review the description of the incident and the violations, which are
charged.

1. 2. 1. 2 The Preliminary Hearing Officer may:
-@ Proceed with the service of the Notice of Charges, |

- @ Refer the matter back to the shift supervisor for further
.  Clarification/investigation. .

e Amend the charges, if appropriate, prior to. service. Any amendment must
be documented in the NCIS.

1.2.2 Service of Notice of Charges

WHE
ne

1.2.2.1 An inmate accused of a violation shall receive a written Notice of Charges.

1.2.2.2 The designated Preliminary Hearing Officer shall serve such notice within
10 calendar days of the discovery of the violation, or within 10 calendar days of the
completion of investigative work conceming the incident, whichever is appropriate.
(3-4218) -

e. This period may be extended for exceptional circumstances.
e The investigation must begin within 24 hours of the time the violation is
reported, (3-4222) :

1.2.2.3 The inmate is not ented to any explanation for any delay in the disciplinary
process. | ;

*

e However, in the interest of providing for complete documentation of each ~

case, an explanation for any delay shal] be included with the Notice of
Charges, at the time of service.

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¢ The explanation may be included as an attachment to the Notice of Charges
or may be written on the Preliminary Hearing Officer’s summary.

When the Notice of Charges are presented to the accused inmate, the Preliminary .
Hearing Officer shall:

e Read the charges to the inmate.
e Advise the inmate of the procedures, under the Code, which apply to him.

e If the Code violation could result in a criminal prosecution referral, the inmate
shall be advised of the right to remain silent.

e Ask the inmate to submit a plea to each charge. If the inmate remains silent, :

such shall be considered a plea of “not guilty.” —

e Provide the inmate with a copy of the Notice of Charges and any applicable
attachments, and obtain the inmate’s signature as proof of receipt. Refusal to
sign shall be noted.

° Update the NCIS disciplinary program with the date of service.
Preliminary Hearing Officer Options

1.2.4.1 After the service of the charges has been completed, and after having
discussed the matter with the accused inmate, the Preliminary Hearing Officer may
immediately conclude their inquiry and announce ‘a disposition, or may take an
additional three (3) calendar days to consider the actions to be taken.

1.2.4.2 Ineither case, the Preliminary Hearing Officer may:
° ~ Summarily dismiss some or all of the charges.
e Reduce a major, work release or general violation to a lesser violation.

1.2.4.3 The Preliminary Hearing Officer may hear and resolve minor and general
violations through an informal, summary hearing. The Preliminary Hearing Officer:

e Shall conduct an n informal, summary hearing on any Class E violation,
regardless of the inmate’s plea, and may, upon a finding of guilt, impose
any Class E violation sanction.

.@ Upon a plea of guilty to a Class D violation, the Preliminary Hearing
Officer may conduct an informal, summary hearing, and. may impose
any minor r violation sanction.

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Shall not impose a general or major violation sanction. |
May refer charges back to the charging employee for clarification.
May refer the case to the Disciplinary Hearing Officer.

May add additional charges.

May remove charges.

suspended sanctions from prior disciplinary hearings.

 

May not #ppese

1.2.4.4 The Preliminary Hearing Officer shall conduct the proceedings as follows:

The Preliminary Hearing Officer may conduct such independent inquiry
as they find necessary and fair.

The Preliminary Hearing Officer may permit the testimony of witnesses,
including the charging employee, or may disapprove a request for
witnesses, based solely upon their assessment of necessity and relevancy.

The accused inmate shal] be present at the hearing and shall be given the
opportunity to explain their version of the violation, unless the inmate
refuses to attend or their behavior justifies removal from the hearing.

testimony presented to the Preliminary Hearing Officer.

When a Preliminary Hearing Officer conducts a summary hearing, a
decision should be reached with the inmate present. The Preliminary

5]

A finding of guilty shall be based solely on the reports, evidence, and

Hearing Officer may, however, excuse the inmate if they feel it is _

necessary.

When the inmate has pled guilty, no hearing is required. The
Preliminary Hearing Officer may. proceed directly with the imposition of
sanctions or refer to the Disciplinary Hearing Officer for resolution.

The Preliminary Hearing Officer shall announce the decision to the
inmate and provide the inmate with a copy of the written summary.

‘The Preliminary Hearing Officer shall take steps to have their

disposition entered into the record of this case in the NCIS “disciplinary
program.”

‘
The original of all forms and attachments shall be routed to the records
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office for recording and filing.

Hearings by the Disciplinary Hearing Officer

1.3.1

The Disciplinary Hearing Officer shall handle all violations of the Code not handled

by the Preliminary Hearing Officer.

1.3.2

¢ The Disciplinary Hearing Officer may consider the charges as written or may
reduce any charge to a more appropriate lesser charge.

to

e This reduction may occur prior to the hearing, during the hearing, or during |

deliberations.

If the Disciplinary Hearing Officer determines that the inmate has been charged

incorrectly, the officer may modify the charges.

1.33

1.3.4

1.3.5

If the officer chooses this option, then:

e The disciplinary hearing shall be continued,

© The inmate will be informed in writing of the modified charges, and

e The disciplinary hearing will reconvene within the timeframes in 1.3.4 below.

e Anew Disciplinary Hearing Officer will conduct the rescheduled hearing.
Timeframes .

1.3.4.1 If the Preliminary Hearing Officer refers a case to the Disciplinary Hearing
Officer for a formal hearing, the charges shal] be heard no sooner than 24 hours and
no later than 30 days after the Notice of Charges are served. (3-4224)

1.3.4.2 The 30 day period may be extended under exceptional circumstances.
(3-4227)

© ©The accused inmate is not entitled to any explanation for any delay in the
disciplinary process.

e However, in the interest of providing for complete documentation of
each case, an explanation for any delay shall be announced at the
disciplinary hearing, and made a part of the record. .

Procedures During the Disciplinary Hearing

1.3.5.1 The inmate will be present at the hearing except when:

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They refuse to attend and/or waive their appearance before the
Disciplinary Hearing Officer. (3-4225)

Their behavior is disruptive.

Confidential information is being presented.

The reason for an inmate’s absence will be documented.

1.3.5.2 In addition to the Notice of Charges, the inmate shall receive copies of any
evidentiary documents, which the Disciplinary Hearing Officer considers, except in
cases where non-disclosure has been approved u under the “confidential information”
provisions of this Code.

1.3.5.3 An inmate who has been charged with a major or work release violation can,
if they wish, consult with an inmate counsel substitute prior to the hearing,
providing that the classification committee has assigned the inmate counsel
substitute to that position. -

Inmate should have at least 24 hours notice prior to the resolution of the
disciplinary by the Disciplinary Hearing Officer. (3-4226)

Participation by counsel substitute shall be voluntary.

The Disciplinary Hearing Officer will not allow the inmate to be
represented by an inmate substitute counsel or staff member at the
hearing unless it is determined that the inmate’s psychological or
emotional state is so impaired as to make the inmate incapable of
understanding, or supporting their own defense. (3-4231)

 

1.3.5.4 If the Code violation could result in a criminal prosecution referral, the
inmate shall be advised of the. night to remain silent.

This warning shall be made a part of the record of the disciplinary
hearing. —

If the inmate remains s silent and makes no plea, such shall be considered
a plea of not guilty.

Silence may not be used to draw an adverse inference against the inmate.
Silence alone sliall not be used to support a finding that an inmate
committed a violation.

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1.3.5.5 If the inmate ¢ pleads “guilty,” no: further evidence, statements or witnesses
shall be considered.

e The Disciplinary Hearing Officer may consider mitigating and/or
ageravating evidence or circumstances from whatever source, including
the inmate and/or Department files.

¢ Prior to entering the guilty plea the inmate shall be wamed that a plea of
“guilty” waives any appeal, or any subsequent challenges to the
disciplinary process. -

e During a hearing for a major or work release violation and prior to entry ,

of plea, the inmate should be advised of the range of statutory good time
_ credits that could be subject to forfeiture for their particular violation(s).

+

statement and present evidence to the Disciplinary Hearing Officer. (3-4230)

1.3.5.7 If the inmate pleads “not guilty,” they shall be given a qualified opportunity
‘ x to call witnesses on their behalf. (3-4230) _

e / The Disciplinary Hearing Officer may deny any witness if it is felt that
the testimony would be irrelevant, redundant, hazardous to the security
¥\ of the institution/facility, or would in any way endanger the safety of any
individual, including the witness. Such denial will be documented. —
* Dia WE O cv? yy vy
© The Disciplinary Hearing Officer may also stipulate as to the proffered
testimony of any proposed witness of the inmate.

 

 

‘

or” e The Disciplinary Hearing Officer may take the testimony of any witness

(employee or inmate) over the telephone if said telephone has the

capability for all present at the hearing to hear the questions and answers.

ge . The testimony of the charging employee shall be permitted at all
hearings for major and/or work release violations. The charging
employee may also testify over the telephone.

- 1.3.5.8 The inmate or their counsel substitute if applicable, not both, shall have the
. Opportunity to question witnesses.

© Questions of. all witnesses are to be directed through the Disciplinary
Hearing Officer.

1.3.5.9 Questioning of any witness, whether adverse or not, may be limited or
curtailed, at the discretion of the Disciplinary Hearing Officer, if:

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1.3.5.6 If the inmate pleads “not guilty,” they shall have the opportunity to make a

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“ /
) Ve The questioning is redundant.

Joe

Kh The questioning is irrelevant.
e The questioning is abusive.

_@ The questioning would produce information that may present a danger to
the security of the institution, the inmate, employees or other inmates.

1.3.5.10 Hearings for major and work release violations will be tape recorded, even
for guilty pleas. NO EXCEPTIONS. (3-4228) .

¢ The inmate may not waive the tape recording.

o- Hearings for minor and/or general violations may be tape recorded at the _
discretion of the Disciplinary Hearing Officer.

e Recorded tapes of major and/or work release violations shall be retained
for three years.

e¢ Tape recorder should be checked prior ‘to the hearing to insure it is
” ) properly functioning.

1.3.6 Evidence

1.3.6. 1 The formal rules of evidence do not apply in disciplinary hearings. Hearsay
evidence may be accepted.

e The reliability and relevancy of the evidence is within the discretionary
determination of the Disciplinary Hearing ( Officer or Preliminary
Hearing Officer.

* °¢ A finding of guilt must be based on some evidence, regardless of the
amount.

X 1.3.6.2 Evidence is relevant if it assists the Disciplinary Hearing Officer or the
Preliminary Hearing Officer in determining a fact necessary to determine guilt or
innocence.

he Evidence is reliable if it is trustworthy.
f° In determining the reliability of evidence, the Disciplinary Hearing
Officer shall consider the integrity of the person offering the
% information, the quality of the person’s memory, the person’s perceptive
abilities, and the ability of the person to communicate the information.

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oe Reliable evidence need not be corroborated by any other source.

   

1.3.7 Reaching a Decision

1.3.7.1 The Disciplinary. Hearing Officer may excuse: the inmate and reach a
decision in private. . .

® 1.3.7.2 Guilt or innocence shall be determined solely on the evidence presented at
_ the hearing or reviewed prior to the hearing by the Disciplinary Hearing Officer.
rr

yb ° If any evidence is reviewed prior to the hearing, a description of the
are a evidence will be noted for the record in the presence of the inmate.

a s - Specific content may not t be disclosed if it is confidential or poses a
threat to safety or security.

1.3.7.3 If the Disciplinary Hearing Officer finds the inmate guilty, or the inmate
pleads guilty, the Disciplinary Hearing Officer may give the inmate or substitute
counsel if applicable, not both, an opportunity to make a statement in mitigation.

 

. e Such a statement is strictly within the discretion of the Disciplinary
- Hearing Officer. .
L_ 1.3.7.4 At the conclusion of the hearing, the inmate shall receive a written statement |
of the findings, including the evidence relied upon and the sanctions imposed.
(3-4233)

© The original documentation will be maintained in the inmate’s I-File.
1.4  Plea/Sanction Bargaining |
141 Plea Bargaining |
1.4.1.1 A violation may be plea-bargained at the Disciplinary Hearing Officer level.

e A major offense may be plea-bargained to a related general or minor
‘violation.

1.4.1.2 If an inmate enters into a plea agreement, they expressly waive their right to
a hearing and appeal. . .

1.4.1.3 Any plea bargaining negotiations shall be documented, using NDOC Form
+3010, made part of the record and signed by the Disciplinary Hearing Officer and
the inmate.

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1.4.5

Sanction Bargaining

1.4.2.1 An inmate may plead guilty to a charged violation under the condition that
they receive a special sanction from the Disciplinary Hearing Officer. The inmate
must sign the Plea Bargain form.

- 1.4.2.2 If an inmate makes such an agreement, they expressly waive their right to a

hearing or appeal.

1.4.2.3 Any sanction bargaining negotiations shall be documented using DOC Form
3010, and made part of the record and signed by the Disciplinary Hearing Officer
and the inmate.

1.4.2.4 Restitution will not be sanction bargained.

‘All plea-bargaining and sanction bargaining shall be tape recorded.

Charges of G20, G27, and MI10 may not be plea-bargained or sanction bargained.

Plea bargain and sanction bargains must remain within the Chart of Disciplinary

Sanction disciplinary sanctions. .

Disciplinary Appeals

1.5.1

Following a finding of guilt an inmate shall be advised that they may submit one

appeal to the Warden using the inmate grievance processes outlined in AR 740. (3-4236)

1.5.2

The appeal of a disciplinary conviction shall be submitted in writing and shall

concisely state the factual basis upon which the finding is appealed.

1.5.3

1.5.4

Limitations on Appeals
1.5.3.1 A plea of guilty may not be appealed.
1.5.3.2 A plea or sanction, which is negotiated, may not be appealed.

1.5.3.3 A sanction, which has not otherwise been suspended, shall not be suspended
for the purpose of awaiting the results of an appeal.

Warden’s Response
1.5.4.1 When reviewing an appeal, the Warden may enlist the assistance of an

impartial staff member. The review may include fact-finding related to the violation
and/or inquiry related to the disciplinary process.

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os | 1.5.4.2 In deciding an appeal the Warden or designee shall consider three factors:
e Whether there was substantial compliance with requirements of the Code.

© Whether the disciplinary committee's decision was based on some evidence,
and ;

e Whether, under the circumstances, the sanction was imposed in accordance
with the Chart of Disciplinary Sanctions — Attachment A.

| 1.5.4.3 After reaching a decision conceming the appeal, the Warden may affirm or
reverse the decision outright, return the decision back to the committee for further
proceedings, or modify, but not increase the sanction imposed.
1.5.4.4 The Warden’s response to the appeal shall conform to the following outline:
e Charges and findings. . 7
e Inmate’s basis for appeal.
e Warden’s findings and decision.
ts _ Instructions, if any, to disciplinary staff.
707.05 DISCIPLINARY OFFENSES
NOTE: Deleted or additional infractions will not lead to the renumbering of charges.

1.1 All offenses listed below will also include an attempt or conspiracy to commit that
violation. -

12 Work Release violations may only be charged if the inmate has minimum or community
trustee status. .

1.3 Minor Infractions (All Class E Violations) _

e M1 - Purchasing, selling, trading, giving, receiving or possessing any item of property,
with a value less than $50, in a manner other than that which is authorized by
Administrative Regulation 711. -

e M3 — Possession of unauthorized items with a value less than $25.00.

e M4-Roughhouse, horseplay or “gunseling”.

e MS5-Failure to keep one’s persori-or assigned area neat and clean. —

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e The need to modify inmate’s behavior.
-@ Set expectation for other inmates.

1.2.3. If the chart is not followed, written documentation must be submitted to the Warden
justifying the departure from the Chart of Disciplinary Sanctions for review and approval.

There is no requirement that charges of similar nature must result in identical penalties.
e Other factors in mitigation and/or aggravation should be considered.

Disciplinary sanction imposed may not include:

e Medication;

e Bible or other religious items;
e Basic cell furnishings;
e Basic personal hygiene items (soap, toilet paper, toothpaste, toothbrush);

© Food (except as authorized by Administrative Regulation 732 — Alternative Diet);
(3-4301)

e Bedding and state issue clothing;

e Access to the courts (legal telephone calls, book check-out from law library); or
e Any item that has been determined to be a constitutional entitlement.

Loss of privileges may include, but is not limited to:

e Canteen/coffee shop

e Electrical appliances

e Personal phone calls _

e Use of gymnasium

© Hobby Craft

An inmate serving disciplinary segregation sanctions may not be subjected to the loss of

minimal outdoor exercise periods as a result of any disciplinary incurred while serving disciplinary
‘segregation unless the misconduct relates specifically to an incident on or en-route to or from the

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1.4

M6 - Failure to perform work as instructed or a failure to attend work, school or other
assignment.

M7 - Unauthorized use of institutional supplies, tools, equipment or machinery.

M10 — Failure to produce inmate identification card upon request of correctional —

employee.

~ General Violations (All Class D Infractions)

_ G1 — Disobedience of an order from any / correctional employee or anyone who has the

authority to supervise inmates in work or other special assignments.

G2 - Unauthorized contact of any on- or off-duty correctional employee or member of
the correctional employee’s family; or any unwanted contact with any private citizen,
not amounting to harassment or threats.

G3 — Organizing, participating in, operating any gambling game or betting pool, or
possessing any equipment used for gambling or betting purposes.

G4 — Intentionally destroying, altering or damaging property of another or state

- property, which has a replacement value less than $50.00.

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G5 — Self-mutilation.
G6 — Fighting or challenging another to fight.

G7 — Issuing a brass slip with knowledge that it is not covered by sufficient funds.

_ G8 — Possession of another inmate’s identification card.

G9- Abusive language or actions toward another person.

G10 — Tampering with evidence or influencing a witness involved i in any disciplinary
Process, not amounting to threats.

G12 — Failure to appear at the proper time and place for count or interfering with the
count.

G13 — Cutting into line.
G14 — Failure to follow rules and regulations.

G15 — Presence in areas identified as off limits to inmates by posted regulations or signs
that identify areas that are restricted, not amounting to an attempted escape.

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performance of his duties.

oN () G18 — Delaying, hindering or ‘interfering with a correctional employee in the

éY

e G20- Preparing, soliciting, or giving false or misleading information to or about a staff |

member and representing the statement as fact. NOTE:
> Cannot be plea-bargained or sanction bargained.

© G21 — Possession of gang materials including, but not limited to, jewelry, stationary,
emblems and patches.

© G24— Possession of prescribed medication that is not a controlled substance without the
approval of the proper authority.

© G25-— Purchasing, selling, trading, giving, receiving or possessing any item of property,
with a value equal to or greater than $50.00, in a manner other than that which is
authorized by Administrative Regulation 711. .
° G26- Smoking in an unauthorized area.
© G27~ Abuse of the inmate grievance process. NOTE:
> This violation may only be charged by the ADO.
> Cannot be plea-bargained or sanction bargained.

1.5. Major Violations

e MJ1—Arson: Setting a fire with the potential of causing damage or injury to persons or |

property. (Class A) .

(*) MJ2 — Assault: Unlawful attempt coupled with present ability to commit a violent
injury on the person of another. (Class A)

A)

© MJ4— Burglary: The entering of a building, structure or vehicle with the intent to
commit a crime therein. (Class B)

e MjJ5 — Embezzlement: The fraudulent conversion of the property of another by one
who is already in lawful possession of it. (Class B)

° MI6 — Escape: The departure or absence from custody of a person who is imprisoned,
before he is entitled to his liberty by the process of law. This violation shall be charged

: MJ3 — Battery: Any willful use of force or violence upon the person of another. (Class

j in ‘cases of walk-a-ways from assignments of minimum or community custody where no .

weapons, force or injury to others was involved. (Class B)
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MJ7 - Extortion: The obtaining of property or money from another by wrongful use of
actual or threatened force, violence or fear. (Class A)

MJ8 — False Imprisonment: The unlawful violation of the personal liberty of another,
which consists of confinement or detention without sufficient legal authority. (Class A)

MJ9 — False Pretenses: A false representation of a material present or past fact, which
- causes the victim to pass title to his property to the wrongdoer who knows his
representation to be false and intends thereby to defraud the victim. (Class B)

MJ10 - Gang Activities: A validated Security Threat Group member who has engaged —

or is engaging in criminal activities, threatens the order and security of the institution
and/or promotes racism. {§ my NOTE:

 

_ > Only the AWO may charge the inmate with this violation.
> Cannot be plea-bargained or sanction bargained.

MJ11 — Kidnapping: The unlawful taking and carrying away of a human being by force
or against his will. (Class A)

MJ12 — Larceny: The trespassory taking and carrying away of personal property of
another with intent to steal it. (Class C)

MJ13 — Larceny by Trick: Obtaining possession of anothér’s property by falsehood
with the intent to convert it for his own use. (Class C)

MJ14 — Manslaughter: The unlawful killing of another human being without malice

either expressed or implied. It may be either voluntarily, in the heat of passion, or ©

involuntarily. (Class A)

MJ15.- Mayhem: The infliction of an injury, which disfigures, disables, or dismembers

another. (Class A)

MJ16 — Murder: The unlawful killing of another human being with malice
aforethought, either expressed or implied, and all lesser included offenses. (Class A)

MJ17 — Receiving Stolen Property: One must receive stolen property, know it is stolen,
and intend to deprive the owner of it. (Class C)

MJ18 — Robbery: A larceny where the taking of the property must be from the person
of the victim or in his presence and the taking must be by means of violence or
intimidation. (Class A) ,

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MJ19 — Sexual Assault: Subjecting another person to any sexual act against their will
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and/or understanding. (Class A)

© MJ20- Tattooing: Tattooing oneself or another or possession of tattooing equipment.
(Class C)

© MJ21~—Theft: The taking of property without the owner’s consent. (Class C)
e MJ22-—Tampering with any locking device. (Class B)

e MJ23 — Intentionally. destroying, altering or damaging the property of another or state
property with a replacement value equal to or greater than $50. (Class C)

e MjJ24—Adulteration of any food or drink. (Class A)

(> MJ25 — Threats: Issuing a threat, either verbally, by gesture or in a written statement to
or about any person. (Class B)

© MJ26 — Possession of contraband, including items that present a threat to safety and
security of the institutions, excluding drugs and drug paraphernalia. (Class A)

© MJ27—Rioting or inciting others to riot. (Class A)

© )MJ28 — Organizing, encouraging or participating in a work stoppage or other disruptive
demonstration or practice. (Class B)

e MJ29—Charging or collecting a fee or favors for services as a counse]-substitute, legal
assistant or “writ writer.” (Class C)

MJ30 — Sexually stimulating activities, including but not limited to caressing, kissing or
fondling, except as authorized by Departmental visitation regulations. (Class C)

MJ31 — The unauthorized or inappropriate use of telephone, mail, computer, state
equipment, or supplies. (Class C) .

MJ32 — Being in an unauthorized area, or hiding on the prison grounds or hiding at a
- place of assignment or classification. (Class B)

MJ33 - Bribery: Giving or offering a bribe to any person. (Class B)

MJ34 — Trading, bartering, lending or otherwise engaging in any personal transactions
when such transaction has not been specifically authorized. (Class C)

MI35 - Counterfeiting, forging or making an unauthorized reproduction of any
document. (Class B)

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MJ39 — Running from a correctional employee when ordered to halt. (Class C)
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MJ40 - Propelling any substance toward any person that strikes them or has the
potential to strike them. (Class A) -

MJ41 — Gathering around, blocking, or impeding any correctional employee or visitor,
in a threatening or intimidating manner and exhibiting conduct, which causes the person
to fear for his safety. (Class A) .

M342 - Unauthorized contact, including harassment, of any on-duty or off-duty
correctional employee or other private citizen. (Class A)

MJ44 — Failure to submit to a drug and/or alcohol screening. (Class B)
"_MJ46 — The possession or use of tape recording devices. (Class C)

_MJ47 ~ Escape: The departure or absence from custody of a person who is imprisoned,
before he is entitled to his liberty by the process of law. This violation shall be charged
in cases of escape from assignments of medium custody or above, or escapes from any
custody where weapons, force, violence, the taking of hostages or injury to others was
involved. (Class A)

MJ48 — Any violation of the Rules of Court, contempt of court, submission of forged or
otherwise false documents, submissions of false statements, violations of Rules of Civil
Procedure, Criminal Procedure or Appellate Procedure and/or receiving sanctions
and/or warnings for any such actions from any court. Although not necessary for
disciplinary purposes, any Order from any court detailing such action shall be sufficient
evidence for disciplinary purposes. (Class C)

MJ49 — Possession of any confidential prison regulation. Any prison regulation, which
is not specifically delineated as accessible to inmates, is considered confidential. A

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prison regulation includes, but is not limited to, Administrative Regulations,

Institutional Procedures, Emergency Response Regulations, and Post Orders. (Class C)

MJ50 — Sexual Harassment: Conduct that is sexually abusive or offensive to any person .

and that may include, but is not limited to, suggestive language directed to another, or as.

an aside; unwanted or inappropriate touching, exposing one’s self; performing a private
~ sex act with knowledge that it will be observed by another, displaying sexually
provocative or explicit materials/photos/drawings. (Class B)

MJ51 — Compromising Staff: Conduct that includes, but is not limited to, bribery,
extortion, sexual contact, or any other behavior designed to violate the safety and
security of an institution and/or obtain favorable treatment. (Class A)

      

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MJ52 — Refusal to complete or
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MJ53 — Possession, introduction, or sales of any narcotics, drugs, alcohol, or other
intoxicants or possession of materials suitable for such manufacture. (Class A)

MIJ54 — Use of any narcotics, drugs, alcohol, or other intoxicants. (Class B)

1.6 Work Release Violations (All Class C)

W1 — Failure to comply with travel arrangements outside the facility.

W2 — Failure to report to the work assignment contacts in the community as specified
and agreed upon in the release plan. .

W3 — Failure to remain in the particular area designated in the release plan.

W4- Operation of a motor vehicle, unless such operation is a condition of the Job z and
the Department prior authorization was approved.

W7 - Failure to return to the facility on or before the time specified in the schedule of

‘the release plan. This includes leaving or hiding from supervision or custody.

W8 — Failure to report an in incident that delays the inmate’s retum to the facility.

 

W§ - Failure to complete §afpatierpe ene oa erures BERD erBe
W10 — Performing work for private persons that are not authorized by the Department.

W11 —- Any violation or attempt to violate rules or conditions of the work program
contract.

W13 — Possession. of coin, currency, checks, money orders or other negotiable

instruments in excess of the amount authorized by regulation.

707.06 DISCIPLINARY SANCTIONS GUIDELINES

1.1 The Chart of Disciplinary Sanctions — attachment A, will guide the imposition of sanctions.

1.2 ‘Disciplinary Hearing Officers involved in the inmate disciplinary process must recognize
that the Chart of Disciplinary Sanction cannot accurately, fairly or consistently address every

situation.

1.2.1 Disciplinary Hearing Officers must conduct an individual analysis of each incident
for each inmate.

1.2.2 In determining the sanction, the following should be taken into account: |

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e Maintain a safe and secure environment.

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exercise yard.

1.7 An inmate may not be subject to the loss of visiting privileges unless the misconduct relates
specifically to an incident involving visitors or MJ44/gaiag conviction (see 707.12).

  

1.8 Sanctions may be imposed either singly or in combination with other sanctions as noted in
1.9 Determining the Sanction

1.9.1 Preliminary Hearing Officers and Disciplinary Hearing Officers shall impose a
sanction or sanctions that are appropriate and are the minimum required to deter further
offenses by the inmate. .

1.9.1.1 In setting the sanction, factors in mitigation and aggravation shall. be .
- considered. _ ;

1.9.2 Other factors may be considered at the discretion of the Preliminary Hearing Officer
and/or the Disciplinary Hearing Officer.

1.9.3 The following are examples of factors in mitigation and aggravation:
1.9.3.1 Mitigation

e The inmate has a minor disciplinary record or no prior disciplinary
record.

e The inmate has not been involved in prior acts of the same or similar
nature.

_ © The misconduct was situational and spontaneous as opposed to planned.
1.9.3.2 Aggravation - |

e The inmate’s disciplinary _ record reflects prior acts of similar
misconduct.

e The inmate’s disciplinary record reflects that the type of misconduct j is
becoming increasingly more serious.

e The misconduct was planned as opposed to situational or spontaneous.
e Serious injury to staff or inmate occurred as a result of the misconduct.
_e@° The inmate has not responded to suspended disciplinary sanctions.

» . © History of chronic disciplinary violations.
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las 1.10 If more than one violation arises from a single incident, disciplinary detention may be
| imposed only once, and not consecutively on each charge.

1.10.1 An inmate shall not be confined to disciplinary detention for more than 15 days in
one 30-day period.

1.10.2. If a major or general violation is committed and ‘the Disciplinary Hearing Officer

suspects that the inmate’s mental condition was a substantial cause of the misconduct, then

they may request a psychological evaluation and subsequently conduct or suspend
. disciplinary actions as appropriate. oO

1.11 Refer to 707.12 for disposition of MJ44 and MJ54.

     
   

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707.07 DISCIPLINARY SEGREGATION/AUSTERE HOUSING GUIDELINES
1.1 Refer to AR 733 for details of disciplinary segregation procedures. |
- 12  Atthe conclusion of each three (3)-month period in disciplinary segregation, if the inmate
_ ) has not been convicted of a general or major violation during that time, and if the inmate is serving
a term greater than three (3) months, one month of credit for good behavior will be granted.
1.2.1 Such credit shall be applied toward completion of the term.
1.2.2 Once eamed, these sanction reductions become vested and shall not be revoked.
1.28% This grant of credit for good behavior does apply to austere housing sanctions.
1.3. Whenever there is a shortage of beds in disciplinary segregation, the Warden may grant
early releases to those inmates who are closest to being eligible for release and/or least
security risk until sufficient bed space is created for inmates with new segregation/austere _
housing terms. ae

1.3.1 If granted, the remainder of the segregation/austere housing remains in suspension
until the original end date of the segregation/austere housing. =

1.3.2 If the inmate violates the early release by subsequent misconduct, they may be
_ required to serve the total unserved portion of the segregation.

707.08 STATUTORY GOOD TIME GUIDELINES
”, ‘ ty ,
_ } 1.1 The forfeiture of credits earned for good behavior, as provided for in NRS 209.451, is a

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sanction, which may be imposed for major and work-release violations. |
1.2 This sanction may be imposed singly, or in combination with other sanctions.

13 Credits subject to forfeiture are those that were eared on the sentence the inmate is
currently serving, up to the date of the violation.

1.4 Credits earned on prior sentences are not subject to forfeiture.

1.5 In instances where the Disciplinary Hearing Officer recommends a forfeiture of sentence —

credits, the category will be determined by referring to the Chart of Disciplinary Sanctions.

16 Referrals for good time forfeiture are made to the Offender Management Division for
processing (see AR 564).

1.7 Categories shall not be subject to sanction negotiations. .

1.8 The categories reflect the violation severity leyel; based on the following:

CATEGORY | AMOUNT OF LOSS (DAYS)
A 120 credits or more
Bo 60 to 119 credits
c | | 1 to 59 credits

1.9 The forfeiture of good behavior credits is subject to final approval Py the Director or
designee.

1.10 Following a find of guilty the inmate should be permitted to make a separate statement
conceming the forfeiture of sentence credits.

1.11 Aninmate may appeal a forfeiture sanction through the inmate grievance process.

1.12 A sanction for forfeiture on statutory credits may not be suspended.

   
 

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707.09 REFERRALS FOR CRIMINAL PROSECUTION (3-4219)

1.1 The administrative disciplinary process, as described by this Code, and the system to
prosecute a person in state or federal court are not related or interdependent.

12° An inmate may be held accountable for a violation of the Code, through the disciplinary
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process, and may also receive a criminal prosecution for the same offense at a later date.

1.3. Inmate disciplinary actions shall not be postponed pending the outcome of a criminal
prosecution unless the Director or designee determines it is in the best interests of the Department
to do so.

1.4 A referral for criminal prosecution is not a sanction under the Code.
e Preliminary Hearing Officers and the Disciplinary Hearing Officer shall make no
promises and shal] not agree to negotiate any plea or sanction on the basis of a referral

for criminal prosecution or absence thereof.

1.5 Conviction for-a violation of the Code is not a prerequisite for a criminal prosecution
referral.

1.6 Although a referral for criminal prosecution is not a sanction under the Code, a referral may
arise from. the disciplinary process, at any time during the process, based on information that a
crime may have beencommitted. _— °

1.7. Refer to AR 708 for processing of criminal referrals.

1.8 The institution where the violation occurred is responsible to submit the criminal referral
regardless where the disciplinary hearing is held. .

© Copies of all documentation will be sent to the originating institution.

 

707.10 REFERRALS FOR PARO wr REVOCATION

 

  

Me) An inmate pending release to the community on parole, or one who is serving a parole from
based on a disciplinary conviction of a major or a work release violation.

e A parole violation is not considered to have occurred: until an inmate has been found
guilty of a major or work-release violation.

A referral for parole violation is not a sanction under the Code.

 

  

wae, = Upon the finding of guilt on a major or work release violation the matter will be reviewed
for parole revocation procedures.

  

   

fat The Warden will determine if such an action is appropriate.

 

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a previous sentence may be subject to revocation proceedings or a review of a previous board order

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Bees will approve or disapprove the referral in writing.

  

MES If approved, the Associate Warden of Programs will coordinate with the Executive '
Secretary of the Parole Board for a Review of Previous Order (RPO) or a parole revocation
hearing.

The Department is authorized to place a stay on parole release plans for inmates who are
accused of a major or work release violation.

Refer to AR 537 for processing of parole revocations.

 

    
       
    

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707.11 USE OF CONFIDENTIAL INFORMATION

"An inmate may be found guilty of an offense on the basis of information from a source
whose identity is not disclosed to the inmate at the hearing.

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Such information may be presented verbally or in writing, subject to the conditions set forth
in this section.

Two-Prong Test for Determining Reliability and Necessity

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1.5

1.3.1 The record shall contain some factual information from which the Disciplinary
Hearing Officer can reasonably conclude that the confidential information is reliable.

1.3.2 The reliability of the informant’s information can be established by any of the
following: " .

e The oath of the investigating officer appearing before the Disciplinary Hearing

Officer as to the truth of their report that contains confidential information, or
_ ©  Corroborating testimony, or

e A statement.on the record by the Disciplinary Hearing Officer that they had

firsthand knowledge of the sources of information and considered them reliable _

based on the informant’s past record, or
e An in-camera review of the documentation from which credibility was assessed.

1.3.3. The record of the disciplinary hearing shall contain a prison official’s affirmative
statement that safety considerations prevent the disclosure of the informant’s name to the

accused.

Disclosure of Source’s Identity to Hearing Officer

1.4.1 In order to conduct the test identified in item 1.3 above, the identity of the
confidential source shall be made known to the Disciplinary Hearing Officer, out of the
presence of the accused inmate.

1.4.2 The Warden may, however, withhold the identity from the Disciplinary Hearing

1.4.3 If the Disciplinary Hearing Officer is not to be informed of the identity of the

source, the record of the disciplinary hearing shall contain an affirmative statement from the
Warden or AWO that the test was satisfied.

1.4.3.1 The statement shall minimally reflect that the Warden or AWO considered
the source of the information, judged the source to be reliable, and allowed that the
Disciplinary Hearing Officer may use the information.

1.4.3.2 The statement shall also reflect that safety considerations prevent the

disclosure of the informant’s identity to the Disciplinary Hearing Officer.
Disclosure of Details of Testimony to Accused |

1.5.1 After hearing the testimony of, or reading the statements of a confidential informant,

_ the Disciplinary Hearing Officer shall, to the extent possible, disclose the details to the
‘accused inmate. 6

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1.5.2 The details of the informant’s testimony may be withheld from the accused inmate if
disclosure would place the informant at risk by indirectly revealing their identity.

1.6 Record Keeping Requirements

1.6.1 In each instance where the Disciplinary Hearing Officer relies upon confidential .

information to reach a finding of guilt, a separate confidential file shall be created and
maintained at the institution. ae

1.6.1.1 Each such file shall be sequentially numbered and shall contain a record of
the informant’s statement, the identity of the informant, and a copy of the
disciplinary documents. - .

1.6.1.2 If the Disciplinary Hearing Officer was not permitted to know the identity of
the informant, the file shall also contain the statement of the official who approved
non-disclosure. . | a

© This statement shall establish the reliability of the informant, and the
- necessity of anonymity. a
1.6.2 The Warden shall review the complete record of all decisions in which the identity

of an anonymous source was withheld from the Disciplinary Hearing Officer, provided they
were not involved in the decision to withhold the identity. ;

1.6.2.1 If the Warden was involved in the original decision, than the ADO or

designee shall conduct the review.

1.6.2.2 Such réeviews shall be completed within 15 days of the completion of the
hearing, or the resolution of the appeal, whichever is later.

1.6.3 The confidential file remains at the institution or facility where it was created and
used, regardless of whether the subject inmate later transfers. . oe

_ 107.12 SPECIAL PROCEDURES FOR MJ44 AND MJ54 CONVICTIONS/SANCTIONS

1.1 Inmates who are suspected of having ingested a controlled substance or alcohol will go

through and complete the disciplinary process.

1.2 Inmates who are found to have a positive urinalysis are to remain in general population,
pending the outcome of the disciplinary hearing unless they need to be placed in more secure
housing as they pose an immediate threat to the safety or security of the institution.

© This does not preclude; however, moving an inmate to a more restrictive level in
general population.

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1.3. A reasonable sanction for a positive urinalysis (MJ54) or refusal to test (MJ44) is restricted

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visiting; statutory referral; and austere housing.

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1.3.1 Inmates are to be directed to a substance abuse treatment program, such as WINGS
or OASIS.

1.3.2 The austere housing sanction may be implemented pending placement into the
program; however, sanctions are to be suspended once the inmate is approved for and
placed in the program.

Inmates found to have drugs or alcohol in their systems, as proved by a positive urinalysis,

will be removed from their jobs, whether they be in Prison Industries, a Vocational Training

program, Nevada Division of Forestry or a departmental job such as culinary, porter,
grounds, etc.

There will be NO visits for one calendar year from the date of the incident.

e All visits will then be non-contact for the second calendar year.

-

Upon successful completion of treatment, the inmate:

e -May apply for restoration of statutory good time credits;

    
 
   

 
 

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© Will receive the 90 merit credits that are awarded for WINGS, or OASIS completion

e Note: There i is no partial credit for completion of a portion of the treatment program.
Credit is all-or-nothing, awarded at the end, “pon successful completion of Phases I, I
_and DI; and

 

e Can again obtain a work assignment fewer

Inmates quitting, or being “dropped from, therapeutic community treatment prior to

successful completion of the entire program will face the following consequences:

e No restoration of statutory good time credits;

¢ Noaward of any merit credits;

e Assignment to Austere Housing to serve the full sanction, if any is pending;

e Retum to their original institution, if they were transferred to WINGS or OASIS from
anether institution; and %

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© A reduction in the Level System.

707.13 MISELLANEOUS DISCIPLINARY PROCEDURE

       
 

 

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1.1 Disciplinary Documentation
1.1.1 All disciplinary activities shall be documented in the Nevada Corrections
Information System (NCIS) as those activities occur.
1.1.2 The NCIS is designed to provide status reports of needed disciplinary actions.
-1.1.3 Disciplinary process is not complete until the final entry of dispositions has been
entered.
Ser mei Ce erate PRT meee
1.2 Expungement (3-4234)
The file shall clearly indicate that the inmate was not guilty of the alleged violation
The NCIS will reflect this finding
1.3 Correction of Minor Technical Violations
1.3.1 <A disciplinary case need not be dismissed due to minor technical errors or
violations.
e For example, if an "employee involved in the incident also acted as the
Disciplinary Hearing Officer, the case need not be dismissed.
1.3.2 The case shall be reheard by another Disciplinary Hearing Officer and: the —
disciplinary hearing rescheduled.
13.3 A typographical error, spelling error or other clerical error can. be repaired by
correcting the problem.
e If the error did not, in-the judgment of the Disciplinary Hearing Officer, impair
‘the inmate’s ability to prepare a defense, the error may be corrected at the
hearing, and the hearing may continue.
e If, however, the error impaired the inmate’s ability to prepare a defense, the
hearing may be reschedvled.
1.4 Placement of the Notice of Charges in "-File as “Informative Only”

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} 1.4.1 This is done when the Disciplinary Hearing Officer finds that the charges do not
constitute a violation of the Code, but shall be maintained as relevant file information..

1.4.2 This is done by checking the box labeled “other” on the “Summary of Disciplinary
Hearing” form.

1.4.3 . This provision may not be used in plea or sanction bargaining. .
1.5  Warden’s Review .

1.5.1 The Warden, or an impartial official whom is designated, shall review the action of
the Preliminary Hearing Officer and Disciplinary Hearing Officer, regardless of whether an
appeal is taken, and may reverse the decision, remand the decision, or modify the sanction
imposed, whenever such action is warranted in the record. (3-4366)

1.5.2 Under such a review, a sanction imposed by the Disciplinary Hearing Officer may
not be increased. - 7

1.6 Disposition of Forfeited Property or Contraband

1.6.1 A forfeited item will be held as evidence as long as necessary, then as the Warden or
Facility Manager directs be disposed of or destroyed.

e Currency, coin, checks, money orders or other negotiable instruments shall be
deposited in the Inmate Welfare Fund, and used for the purpose, which the
appropriate administrative regulation authorizes.

© Items of property may be disposed of in an environmentally appropriate manner,
or donated to charity, except that an item may not be given as a gift to an
employee or the general public. ,
1.7 Staff Training (3-4217)
1.7.1 Supervisors who act as Preliminary Hearing Officers or Disciplinary Hearing
Officers should receive training prior to their participation in the inmate disciplinary
process.

@ EEO/Employment Development Division will conduct this training.

1.7.2 New employees will receive training and receive a copy on this procedure during
their Pre-Service Training.

1.7.3 Current Employees will receive a copy of the Code when revised. (3-4216)

"J. 997,14 MAINTENANCE OF DISCIPLINARY ACTIVITY RECORDS
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1.1

The NCIS “Disciplinary Program” is not a substitute for any of the paper forms that are ~

used to carry out the disciplinary process (Notice of Charges, Summary of Preliminary Hearing
Officer, Summary of Disciplinary Hearing). _

1.2

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1.4

1.1.1 The NCIS “Disciplinary Program” is a method to record, summarize and analyze
these activities.

1.1.2 Institutions and facilities shall not maintain or develop disciplinary management or

documentation systems, manual or automated, other than those provided through the NCIS.

" Initiation of Disciplinary Record

1.2.1 A record of the. disciplinary shall be started by making an appropriate entry in the
“disciplinary program” in the NCIS upon the writing of a Notice of Charges, and prior to
delivery of the charges to the Preliminary Hearing Officer.

1.2.2 The date of the record is the date the Notice of Charges is written.

1.2.3. The entry of the record causes the creation of a 10-day suspense date for the
_ Preliminary Hearing Officer. . -

Hearing Officer Function

1.3.1 After the Notice of Charges has been served, the disciplinary record shall be updated
with the date of service. .

1.3.2 If the Preliminary Hearing Officer resolved the charges, and did not refer the case to
the Disciplinary Hearing Officer the disposition shall also be entered into the disciplinary
record at this time. — OO

133 - If the Preliminary Hearing Officer refers the case to the Disciplinary Hearing

Officer, the date of service creates a 30-day suspense date for the scheduling of the
disciplinary hearing.

Disciplinary Hearing Date and Disposition Date

1.4.1  Atthe conclusion of the disciplinary hearing, the date and disposition of the hearing
shall be entered into the disciplinary record. .

1.4.2 This will complete the record of that particular case.

1.4.3 If after the Warden’s/designee’s review and if changes are made, the changes will be
noted in the NCIS.

” Me
‘1.4.4 If an appeal is filed and modification is made, the Warden/designee will enter the

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- 448
 

1.5

1.6

 

“MIMB=WGC— Document 123 Piea 12/01/17 Page oo of 157

changes in the NCIS.

1.4.5 If necessary, a special case note will be made on the NCIS Chrono Screen detailing

the modification(s).

Responsibility

1.5.1 The Disciplinary Hearing Officer is responsible for insuring that the requirement ro) a
- the NCIS “disciplinary program” is properly carried out.

“1.5.2 In the event that an inmate transfer interrupts a disciplinary case in progress, the last

completed phase of the process shall be entered into the record of that case that has been
established i in the “disciplinary program.”

© This will insure that the staff of the receiving institution are aware of the status
of a particular case, and do not initiate a duplicate record.

1.5.3 The receiving institution will check the disciplinary status of all inmates and
complete the disciplinary process, if necessary.

Restitution

 

1 6. 1 DOC Form 3043 will be completed on all disciplinary sanctions requiring See
Steaiee restitution.

 

e The completed form will be submitted to Inmate Services.

1.6.2 Whether or not the amount of restitution is known at the time, total restitution may .
be on-going due to changing medical treatment or other costs related to the incident.

AR 707 | . Page 37 of 38

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449
 

 

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REFERENCES

‘ACA 3-4214 — 4295; 3.4297 -4036.

ATTACHMENTS

Chart of Disciplinary Sanctions

NDOC Fonn 3010

NDOC Form 3017

. NDOC Form 3018

‘ NDOC Form 3019 Page 1
NDOC Form 3019 Page 2
NDOC Form 3043

- AR707

 

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450

 
 

 

 

 

 

 

 

 

” ~~ 2 _t CHART OF DISCIP- “WARY SANCTIONS J,
_. i tad a 2°? OFFENSE. 3” OFFENSE |-
~ MINIMUM, MAXIMUM MINIMUM MAXIMUM |
<1 | - Any Class B sanction | :- Any minimum ClassA | - Any first offense Class A} - Any previous Class - Case-by-Case
©, {> 18 months DS ' sanction sanction : A sanction Basis
A | - Director referral for = - 2 years DS - Case-by-Case Basis : - Case-by-Case Basis j a]
© | Class A stat of 180 days : - Director referral for Class a a AS
en i ;__A stat loss a :
| Any Class C sanction pede Any minimum Class B ] - Any first offense Class B : - -Any previous Class B - Minimum
a |- 120 days DS/AH Jf sanction ‘| sanction : sanction : | sanction for
~ Loss of visiting or non- . - 180 days DS/AH -9months DS . 1-1 year DS " Class A
B contact 90 days - Loss of visiting or non- - Loss of visiting ornon- ;
3 Ic Director referral for Class B contact 180 days contact I’ year 3
ic | State not to exceed 90 days - Referral for Director for __| - Sanctions may be 4
- _ i ClassB statloss consecutive i
N | - Any Class Ds sanction i - Any min Class C sanction - Any first offense ClassC : - Any previous Class C | - Minimum
= | - 10 days DD susp 60 days 7 - 10 days DD | sanction | : sanction _ | sanction for
= clear conduct . } -60daysDS/AH_ . -ISdaysDD — . -90 days DS/AH - ‘| Class B-
3 | - 60 days DS/AH susp 189 . t+ Loss of visiting or non- - 75 days DS/AH. oO . WL
é days contact 90 days - Loss of privileges 60 days ;
oO | Loss of visiting or non- - Loss of privileges 30 days - Sanctions may be - 4
© contact 75 days | -© Director referral for Class C consecutive
S - Director referral for Class C stat loss _ ' . .
OQ | statlessthan30days_: i i. —_ = J.
= | - Any Class E sanction | :- Any minimum Class D —_—_| - Any first offense Class D } - Any previous ClassD | - Minimum
© | ~ 15 days DS/AH susp 30 days | sanction - 5 days DD susp 60 days : sanction sinction or
S | -Loss of | privilege 30 days: - 15 days DS/AH - 30 days DS/AH - - 45 days DS/AH ass
4) susp 30 days i - Loss of 1 privilege 30 days | -Lossofvisitingornon- ; - 5. days DD
‘> | -Loss of visiting ornon- . :-Lossof visiting ornon- contact 45 days _ $-Losso visiting or non-
<1 | contact 30 days susp 60 days : . contact 30 days - Sanctions may be _ Contact 60 days -
e ; . oo ee —
8 | - Verbal reprimand — 10 }- Any minimum Class E - Any first offense ClassE :- Any previous Class E Minis
sanction
oy on crira duty - Loss of 1 privilege 10 - Confiscation of auth. -Confiscate unauthorized Class D-
_ property 20 days 4. property 30 days
E - Forfeiture unauthorized/; days be ' ; . .
_ |. altered property ; $+ Confiscate authorized | ~ Sanctions may . .
zn | - Confiscate authorized p property 10 days consecutive -

 

 

 

 

 

 

 
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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 90 of 157

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tee 25,2015: a .

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9 of Nevada
Department of Corrections ( EXHIBIT-£ ) @ p
Investigation Detail Report
ri _ For AG Office ‘
Pane —
Investigator: IR Number: IR-2015-NNCC-000575 v1
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: IA Number: lA-
Disposition Date: Institution: NNCC
[Narrative _
On 2016 at approximately 2034, Correctional Oficar C.Smith, , Tequested backup
sone . fre, Sic Robereon and Search ee eho vara baci
officer in the face. Inmiate was checked by medical and placed into Adminstretve Unitofficer and one
oficer completed C-1 paperwork. Both were seen by Insttutional

was Schreckengost. Reports
10 follow from officers, ... MSMITH, 03/29/2015 09:14: The inmate involved h this incidents Inmate Joseph Mizzoni
#88549 (5B-29A), inmate Mizzon was served wih a notice of dessiication hearing and housed in 7A-3A, Inmate
Mizzonie on the communicable disease let. Offcer Smih, C. wae treated at CTRMC for a posable blood exposure
Bra checked for huries a8 a result of the incklent. Oficars Sameel and Grider were treated at CTRMC for posable

 

 

 

   

 

 

~ Comment Shit on

 

Shit command reporing019 ;

© Recots :
INCO2B On March 28, 2016, | Sergeert Frank Sherm aniiving at Northem Nevada Correctional
Canter to work C-Graveyard Shitas the Acthg Shit At approximately 2035 hours, a

 

 

 

 

 

 

| - Page 4 of 10
Reference Name: NOTIS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

Mizzont ea EX § - 001

 
 

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Case 3:15-cv-00499-MMD-WEC "BOCUMEMELLT PNET L2IOL/T7 “ Paye’2-oF 187 ~

 

 

 

 

State of Nevada
Department of Corrections
Investigation Detail Report
For: AG Office
Investigator: IR Number: 1R-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015

Report Due Date: lA Number: lA.

Disposition Date: institution: NNCC
Staff Involvment

© Reports

Report Type Report Detail,
place Inmate Mizzon' into restraints and had ordered the Inmate to move to the wall. Inmate
Mizzonl appeared he was going fo comply but moved In an aggressive mannner toward Officer
Smith. C/O Smith used hands on force to attempt to control Inmate Mizzonl. C/O Smith radioed
for Back up at this time. Inmate Mizzonl was able to get loose from Officer Smith and used a
Cosed fist ib swing at the officer. Inmate Mizzonly s closed hand struck Offer Smith on the right
cheek. As officers arrived to assist at the incident the unt was secured. With Inmate Mizzoni
restrained, C/O Grider, C/O Samsel and C/O Alleon escorted the Inmate to the infrmary for

Atthis time, Sgt had to leave the institution due to a family em . Sgt. Roberson
ramahed on post as tre souond superar and sca aoa did assiat
with completing the C-1 Paperwork for staff from this incident, C/O Smith was moved to Uni 2
eva.aEOn Was Gh eae pcperwerk for possible ur fom the hedent. An inl
evaluation wes Institutional Medical Nurse, Stephanie Andrews. Photographs were
taken of the injuries of the officer at this tine. ,
Warden Baca was advised on the sluation at approximately 2055 hours. A message was left on
the cel phone for AW Rion Schreckengost, At approximately 0015 houre, kwas discovered that
Inmate Mizzonl had bled during the inckient and he waa screaming he was Hep C postive. |
found that two other officers wih C/O Smih may have been exposed to blood bome pathogens. |
checked the Communicable st and did find inmate Mizzoni was.on it Atthis tme, Sgt
Roberson contacted C/O Smith and advised him he would be laaving as scon as we were able to
get C-1 completed for hin to take to the Ti lonal Medical Center, The other
officers were identified at C/O Lee Grider To release the officers as soon
as posstble, | had the Institution below minimum securty staffing. C/O Smith was release at
0100 hours. C/O Grider and C/O Samsel were released at approximately 0320
hours to complete a blood draw. | had spoken with the Medical Department and twas unknown
88 fo why Inmate Mlzzonl was on the List | was also advieed that Inmate Mizzonl would have a
blood draw for testing of Hep C on Monday, March 20, 2016, .

egy betas thy 4
i tila eBags],

   

© Revorts
ReportType Report Detail,
USEOF On 2/28/2015 at approx 2100, Inmate Mizzonl was brought to medical for evaluation. lim
Sustained a ‘cm laceration above the Lt eye which required cleansing and steristrip. Dime sized

ara noted to Rtcheek and temple area, No brolan ekin noted. No ofter hes aoa nc

 

     

 

complaints of vertigo , blurred vision or headache. instructad C/O Smith to folow up per exposure
bhatt Le Lar era Aol seals Dre WerGrc- Ue CILIT iS SFY-feSiTeuons- ane

   

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Report Name: AGIDR Page 2 of 10
Reference Name: NOTIS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 93 of 157

State of Nevada
Department of Corrections

Investigation Detall Report
For: AG Office

 

 

investigator: IR Number: !R-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: : tA Number: [A-

institution: NNCC

 

Disposition Date:

Staff Involvment

 

© Recorts
ReportType Report Detall
Iiructed on syenpioms to watch fr. Unusual occurance paperwork completed for both VM snd

eer

   

@ Reports - ;
+ On March 28, 2018 { Correctional Sergeant John Henley was assigned as the Shit Sergeart st
1 Northem Nevada

 

    

 

Correctional Center. At approximately 20:35 loverheard a radio call for yback-
Saas Mizdoni, Joseoh HOBEMU was onthe =

   

 

sp proximately 20-40 | entared unt’ § and noticed that inmate Mizzoni,
Izzoni down and requested

  
 

 

strugging wih mule at vembers... caimed inmate M
to stand Inmate Mizzoni up: inmate Mizzoni was complant at this time. | requested

 

 

ree lene Tie A

 
 

11 furiee and then left the evaluation room to check on Correctional Oficer C. Srrih
YEG, Srnih ihe was ok and he stated thathe was. cid nice a sight to

  

ye!

   

 

 

 

 

 

 

       

  
 

1 then dlscondinued Inlerviewing Correctional nih and reported back
: ~ Central Control provided cel 74-38. |

/yeanate Mizzonizs glasses Into evidence and { took a picture of the d where inmate Mizzoni
/qwas subdued. (then aselgned Correctional Oficer Damel to unk § and noliied al unks via radio

ates would remain in thelr aseigned housing for the of
eed entered Unk count, END OF REPORT.

   
 
     
 

‘evaluation room, frequested va radi fora cel in unk7 )
requested Officers Gamica and ort inmate Mizzoni to unt’ 7. Both Officers
j7compled and completed the escort. | then reported back to unt Alison to bOOK

 

 

 

00 agremen w gegen tee: screens

On Saturday March 28 2015, |, Senior Officer J.hil while
Northern Correctional Center did provide aselstance in unk four to secure call doors at

 

 

Report Name: AGIOR
Reference Name: NOTIS-RPT-OR-0248

Run Date: APR-04-16 11:07 AM

 

   

 

 

 
  

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State of Nevada
Department of Corrections
Investigation Detail Report
For: AG Office
—
Investigator: IR Number: _IR-2015-NNCC-000575
’ Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: tANumber: IA-
Disposition Date: Institution: NNCC
Staff Involvmert
© Reports
ReportType Report Detail

5. Mysef and the three other officers departed unit 4 enroute to unit 5. Upon amival Officers

Ardinger, S.Smith, provided assistance to Oificer C.Smih, whie | began to disperse
Inmates from the Immediate area, clearing the rotunda and securing Inmates in ther cela, As
addiional staff members arrived The area was secured, | then observed the escort of Inmate

ZOT 709049, rom unk 5 to uw SCircey 6 On -

 

  
 

 

 

USEOF

 

 

Report Detail

On 28 March 2015, | (C/O Lee Grider’ was assigned to 1 Tower on C-Graves at The Northen
Nevada Corectoral Gates . ,

At Approx. 2030 hre, | heard a back-up/staff assault cal coming from Unit 5 when ! was
coun} ready to relieve shit When | artived at Unit 5, inmate Mizzonl, #68549, was

, under officer coverage. The inmate had to be maved to medical,
ashe was from his temple, However, Continuing to drop his weight, Mizzoni was
resistant while staff atlampted to assist him to his for movement to medical, | stepped
forward and placed Mizzonfs right wrist in a rear wriet lock, while Officer Hightower did the same

 

 

On 28 March 2015, 1 (C/O Lee Grider was assigned to 1 Tower on C-Graves at The Northem
Nevada Comecloral Sone:
oe is | heard a back-up/staff assauit cal com from Unit 5 when | was
he fo
prone

stepped
tutad i wrt eek of Mlzzonts rit an , took control of his righthand wih mhe, ang
continued to drop his weight, | gave him
several orders to stand up. Mizzoni refused, necessitating me to pul the wrist lock | had him in
So 88 to bring him to a standing Once Mizzoni was on his feet, | de-eecaiated my use of

fe eA (OF MeCiCal evaluation

     

 

Report Name: AGIDR

Reference Name: NOTIS-RPT-OR-0248

Run Date: APR-04-16 11:07 AM

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ase 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 95 of 157

 

 

 

 

 

State of Nevada |
Department of Corrections 34
For: AG Office
Investigation _
Investigator: IRNumber: IR-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: tANumber: IA-
Disposition Date: Institution: NNCC
Staff Invoivmert
@ Reports
Re e Report Detall
Once the inmate In Unk 8, SGT John Henley (Acting Shift dismissed
So mere tae a ale

 

 

 
 

Spero ssn Upon evar Tiossaterg
So ee er redran's by offcers C/O Grider and C/O Hightower i the unrotunda. Pen

 

scoding officers Tom Wp -o Were Th

 

 

 

  

Tee

 

 

 

 

 

 

  
  

 

 

 

Report Type Report Detall,

INCO28 ee murda March 28% 2015 | Sergeant J. Roberson wes assigned aa the Swing Sit AE

-  Sergeanthere at NNCG. At approximately 8:35 PM, | responded to Unit 5 for a backup call that
SoS a rade. When Tatved tothe Unik yard area; [was briefed that fiere Fé been
a eeguikon an officer, and the suspect had been subdued and restrained

Sontfol vid racic, and requested medical ta standby. for further instruction

ssault on an offes
and when larived in Uni §, | winessed Inmate Mizzoni, J NDOC# 68549 hn a
com ron he foor of Unk 5, and gota vaual on Offer Chistopee Sat TaN

      

arta Ata Visual Cornierialice: GFern ne Cet. Slip :
5 tha SEE ee py an Inmate, and Wate Was OK. kit thathw wourd be e8ert
__... ... middical anya, lirleted Sot Hanley; wha tract arth am the scare shorty after dit wih jesse

 

 

 

 
 

 

 

 

batteries. wih inthe edical Unik where the hmate So Often
AER ————— ago 510
Reference Name: NOTIS-RPT-OR-0248

Run Date: APR-04-16 11:07 AM —

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MIZZONI &98: BSF EXH & - (
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Case 3:15-cv-00499-MMD-WGC. Document 123 Filed 12/01/17 Page 96 of 157 vee

  
   
 
   
  
   

State of Nevada _ wa
Department of Corrections # Mb
Investigation Detail Report 9
For: AG Office Bh

 

IR Number: 1R-2018-NNCC-000578
Occurrence Date: 03/28/2015

(A Number: 1A-

Institution: NNCC

 

 

 

INCO28 While working my regular scheduled shit in Unit 10A at Northem Nevada Correctonal Center on
March 28, 2015, | Correctional Officer J. Hightower observed the folowing. At appreximattly
8:34pm Unit S Officer C. Smith called for Officer backup on his Instiutional radio. When | entered

Mizzonfs left wrist in a rear wrist lock while Officer Grider and | Ifted him to his feet. Inmate
Fae Unk 8A Set Henin doen hr medal evaluation, Once nme Mizzol wes secured
SG LA wi = = SINSSed me bac mY post =

ng

  
  
 

 
 

© a Report
INCO28 1 C/O Scott smth was in Unk 4 when | reeponded to Uni 5, When I got there Officer C. Smith

 

 

  

Report Name: AGIDR
Reference Name: NOTIS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

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4 State of Nevada *
Department of Corrections 4,
Investigation Detail Repo
‘ ; For: AG Office
Investigator: IR Number: |R-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: 1A Number: [A-
Disposition Date: Institution: NNCC
Staff Involvment
@ Reports
ReportType Report Detall, :
Es had inmate Mizzoni 62649 on the ground hand cuffed. | helped secure the unt. 7
DARN ELE ROBERT Tyee ETS ain , aes a )
Comment “Reaponding officer
© Repats .
ReportType Report Detall, .
INCO2E sn SDE/{5 at gporaximately 2046 tvs, | C/O Demel reeponded to a calfer back up in unit.
Upon ertval | began to secure the unl by geting all nmatse back ito the wings and ecg
68549) was removed from the unk, ! was then reassigned
inventoried inmate Mizzonfs on = ———
0 eee 7 report ™_. = - aE = = po
© Reports,
a Tanto _—_———
INCO28 On Saturday Apri 28,2015 i, Correctional Ofcer J. Allson, was assigned to search and eecort
‘ Nother Nevadia Correctional Canter. At approximately 7:30 P.M. Correctional Officer
pore ArcngerS Si ase unk wih ol ssarchoe, When we seaper aed
which houses inmate Mizzonl (68549) and Inmate we butinmats--- ---}  —-
Hears had an atice whl we were conducing the cel search. At approximately 8:30 FA ne
ey seerches were complete end allofthe addonel offcers lft the un. At approximately 8:00
cate heard unit cal for assistance over the radio and | responded wih Correctional Officer
placing my left hand of
rc . 2 ee _. ecu eS struggle: ani resist taf t
L eb down SG gerd up sielght “ var end Cot a
Clee Ger eecvied Mizon to unk 8 fer medica veut: colected al off evdence sit
Op Seturday Aptt 28, 2015 |, Com Alleon, wae assigned to
' avada e oximatery 9:4 vi. Lnearg Ui

Report Name: AGIOR
Reference Name: NOTIS-RFT-OR-0248
fun Dafa: APR-04-16 11:07AM 0

 

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State of Nevada
Department of Corrections r
Investigation Detail Report «,
we For: AG Office it gy
Investigation
Investigator: IR Number: IR-2015-NNCC-000575
Assigned Date: Occurrence Date: 03/28/2015
Report Due Date: (A Number: IA-
Disposition Date: institution: NNCC
| Staff Invawment
© Reports
Report Type Report Detail
with Correctional Officer . When Officer

assistance over the radio and |
Arde end gto unk 8 Carecena Oftcer Sri enc Pree nese ee cand
ta or pk ne ca eet hand on Mizar heed eo he wea

 

 

INCO28 (Cn March 28th, 2015 | Correctional Officer C, Smith wes assigned to housing unt § of the
Northem Nevada Correctional Center as the only Offlosr in the unit. At 6:45pm |

 

 

 

 

 

Report Name: AGIDR
Reference Name: NOTIS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

 

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MIZZONI ap: a0 EXH 6 - 008

 
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° 5-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 99 of 157

  

frivestigator:
Assigned Date:
Report Due Date:
Disposition Date:

State of Nevada
Department of Corrections

Investigation Detail Report

For: AG Office

IR Number: IR-2015-NNCC-000575
Occurrence Date: 03/28/2015

tANumber: lA-

Institution: NNCC

 

Staff Involvment

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@ Reoots,
Report Type Report Detail

 

 

 

 

officers had already

 

nportant formation. {then checked my mailbox during he 7:00pm
eos stated fhat there was tatioo equipment inthe wal of Units A
rdinger, i ssist me wih cell searches to make

Alfson, a
rondo searches. | searched Unk SA cel 2 and had negative
searched B wig cell 29 housing Inmates Mizzont #60549) and Deyerle (#1010262) and had

fonar
struggled to position him on the ground
imate to get back’ because my rotunda was tl of other He twas atthis time that | was

see erwesteweeeanve hi

Mr dol te unikto cach my brea anets 1 Tare
removed inmate Mizzoni from my unk. [wes then releved Search and
: a.

count and retrieved the kite.
call 2. | then called

saults; | then randomly

i SEO feGiou

 

 
  
   

aeaaael a tick ie

qroun ‘he st gad Tet to
where he could not strike e again. | then

  

wayeetar ay aes

   

3 iin Gre twasave wgscwnacte
Se re eras

    

mond

 

responding officer

Report Type Report Detall

2 the inmate was walked over to 8A for a physical evaluation.

1 | Offer Dierhka was posted to 8A on 3/28/15 when at approximately 8:40pm, radio trafic of

less than.a minute later that t wes

+ Slowed 3853. Upon reaching the unit noticed inmate Mizzon # 68549

officers. | noticed two Inmates etting on the floor and

 

 

 

 

 

 

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Report Nam
Reference Name: NOTIS-RPT-OR-0248
Run Dates APR-04-16 11:07AM

 

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Case 3:15-cv-00499-MMD-WGC Document 123° Filed 12/01/17 Pagé"100 of “(> “

State of Nevada 4. @
Department of Corrections m A
Investigation Detall Report ol
For: AG Office

 

IR Number: IR-2018-NNCC-000575
Occurrence Date: 03/28/2015

 

 

 

{A Number: IA-

institution: NNCC
On March 28th 2015 at 2030 I, Correctional Gamica toa backup
call on the radio to Unit S. Upon getting there inmate Mizzion! #68548 was on the in
restraints, | assisted in the unit and escorting the inmate to unt 8A. U getting to unit

~INGARNICA, 04/05/2015 21:41:03) On March 28th 2015 at approxim 2030 I, Correctional
Offtcer Gamica responded to a back up callon the radio to Unit Upon antics ce ne oreo
\izzonl #68549 was on the Ground in reetraints, | assisted securing the unk and escorting the
Inmate Mizzoni to unit 8A for a medical evaluation, The medical staff determined that the Inmate
Vescoted he bate crag coe eon A Along wih CO Sama C/O Wyte,
SSN tet ME i ate Bl - .

     
   
 

   
   

 
  
  

mate over to unt 7A and secured the inn repor

Peep hbase

   

 

 

 

 

 

Report Name: AGIOR Page 10 of 10
Reference Name: NOTIS-RPT-OR-0248
Run Date: APR-04-16 11:07 AM

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 101 of 157

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DECLARATION OF
JOSEPH ALLISON
 

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1} DECLARATION OF CORRECTIONAL OFFICER JOSEPH ALLISON

2 1. I, Correctional Officer Joseph Allison, am over the age of 18 and am otherwise fully

3 }{ competent to testify to the facts contained in this declaration.

4 2. The statements contained in this declaralion, except where otherwise indicatcd to be

5 || upon information and belief, are based on my personal knowledge.

6 3. fam currently employed by the Nevada Department of Corrections (NDOC) as 2

7 || Correctional Officer at Northern Nevada Correctional Center (NNCC) and have been sa employed at all

8 || times relevant to this matter.

9 4, In connection with case Mizzoni v Allison, et al case number 3:15-cv-0313-MMD-VPC,
10 |] currently pending in the United States District Court, District of Nevada. The Nevada Office of the
41 || Attorney General requested that I provide truthful and accurate information relevant to legal briefs that
42 |I the defendants intend to file with the Court in the Mizzoni Litigation and for other proper purposes.

19 3. On Saturday, March 28, 2015, I was assigned to Search and Escort at NNCC.
14 6. At approximately 7:30 pm, Officers Ardinger. S. Smith and | were assisting with cell
15 || searches in Unit 5. Cell 29, B wing was part of the search, which was the cell belonging to inmate
16 \ Mizzoni and inmate Deyerle.
17 7 Al approximately 8:30 pm the cell searches were complete and all additional officers Icft
18 || the unis.
19 8. Al approximately 8:40 pm, a call far assistance from Unit 5 came over the radio. |
20 |] respanded with Officer Ardinger.
21 9. Upon arrival to Unit 5, Officer C. Smith and inmate Mizzoni were on the ground
22 || struggling. Officer C. Smith was on top of inmate Mizzuni atempting to control him while inmate
23 || Mizzoni was attempting to punch Officer C. Sraith.
24 10. Lassisted Officer ©. Smith by placing my left hand an inmate Mizzoni's head so he was
25 || unable to bite or spit on the officers. I then placed my right knee against Mizzoni’s left shoulder and
26 || my right hand on his right shoulder because inmate Mizzoni continued to struggle and resist staff. |
27 } gave the verbal command to inmate Mizzoni 10 stop resisting and fighting.
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11. Afier the unit was locked down and inmate Mizzori was in restraints, | assisted inmate
Mizzoni get to his feet and he continued to resist by dropping his weight down and refusing to stand up.
Officer Hightower and Officer Grider escoricd inmate Mizzoni to Unit 8 for medical cvaluation.

12, [then collected all of the evidence and placed it in the evidence locker.

Pursuant to 28 U.S.C. § 1746, | declare under penalty of perjury that the foregoing is true and
correct.

Executed On: October 2 4, 2016.

    

clional Officer Juseph Allison

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 105 of 157
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1. 4, Robort Ardinger, am ovet the age of 18 and em otherwise fully campetent lo testify to
Ihe fncis contained in thls declaration.

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3. Jant currently emptoyed by tho Nevatts Depastorwnt of Cartectlons (NDOC) us 6
Correctional Officer ot Northern Nevads Correcstonal Center (NNCC) and have been 90 employed nt all
times refevunt to this eatier.

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4, — Inconnectlon with cate AMizzoni v Allisun, et af case auantres 3:1$-cv-00313-MMD- VPC,
currently panding in the Unlted Stotes Disirtel Court, District of Nevada, The Noveda Oilice of the
Attorney General requested thot | provide truthful and accurute Information retovant to legal bricis that
tho dofendaats intend to File with the Court In the Mizzonl Litigation and for other grapes purposes.

3. On March 28, 2035 twas anced to coach und escort 9 Nonhere Noveds Cortectlonal
Center (°NNOC™).

6, At approxiiaicly 2034 hours | heard 6 call on the méig fons Veit 5 that wu uncleor
what (ho situation was. Thoreforo, | procesded in coule to Unit 5 tv determine If back up was needed.

7. Upsin arriving ta Unit 5 | observed what appeared to be a fight ia the Unit 5 Rotondu, |
calfed for backup for second officer on my ponsdle radio,

8. As Lentered Unit S, I sow Correctionul Officer Smith on the ground with on narestrained
immote loter Identifivd as Joseph Mizzoné (#68549),

Y, —_ Lobsexved Mr. Mizeont refusing Officer Smith's verbal commands. Therefore, | asstued

22 |} Officurs Smith and Allizon in placiag Ms. Mizzont in wrist tettra)ints.

23 10. Evenaftas Mr, Mizzont wos in cestralnis he costinued ty verbully obuse maff. He also

24 II continved to siraggle aftcr being placed In cestrolnts therefore stoff secured Mizzoni'x lees fo gain

25 || complloncr und prevent ony furthes Incident,

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Case 3:15-cv-00499-MMD-WGC Document 123 Filed 12/01/17 Page 106 of 157 .
4S

1}. Mr, Mizzonj was then escorted to the Regional Medical Faciily (us evaluation.

Pursunnt to 28 U.S.C. $ 1746, I declare under penally of porfury thot the foregalng Is troe und

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Executed On: October ZY, 2016.

 

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EXHIBIT F

Declaration of
Christopher Smith

EXHIBIT F

 
 

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jo

1 DECL 1ON OF CHRIST § URSUANT TO 28 U.S.C. § 1746
2 1, Christopher Smith, state:
3 1. 1 was employed as a Correctional Officer for the Nevada Department of Corrections
4 || ("NDOG") at Northern Nevada Correctional Center (“NNCG”) In Carson Cily, Nevada during the
5 || subject Corrplaint. If 1 am called to testify, | would verlfy the truthfulness of the slaterrents made
6 |} below.

7 2 On March 28, 2015, 9 was working for the NDOC at NNCC In housing unit §. | was
8 | Involved In an Incident where an Inrrate narred Joseph L. Mizzoni (“Inmate Mizzoni”) assaulted re.
9 |] When the backup correctional officers arrived on the scene and the situation was under control, |
10 || depatied the housing unit. Soon after the situation was under control, pictures were taken of Inmale
11 | Mizzonl and rre. The pletures accurately depicted the Injurles sustalned by both Inrrate Mizzoni and

12 {i me during Inmate Mizzon!’sassaull on my person.

13 3, ( have not had any contact with Inmate Mizzont since March 28, 2038._.
14 4. After the incident, 1 wrole a detalled, accurate, and truthful Incident report detalling the
15 llassaut by Inmate Mizzoni. This Incident report was used In the disciplinary process at the discl plinary
16 j} hearing._
17 5. Other than writIng the Incident report regarding Inrrate Mizzonl’s assault, | have nol
18 I] beenInvolved In Inmate Mizzonl’s disciplinary process._
19 6. 1 declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing Is true
20 II and correct to the best of my knowledge and bellef.
21 EXECUTED this __ [3 day of June, 2017. -
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, RONALD SCHRECKENGOST, béing fitst duly sworn, under périalty of perjury .under
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(Exner)

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
JOSEPH L. MIZZONI, ) 3:15-cv-00499-MMD-WGC
)
Plaintiff, ) REPORT & RECOMMENDATION
OF U.S. MAGISTRATE JUDGE
vs.
) Re: ECF No. 100
STATE OF NEVADA, et ai., )
)
Defendants. )
)

 

This Report and Recommendation is made to the Honorable Miranda M. Du, United States
District Judge. The action was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §
| 636(b)(1)(B) and the Local Rules of Practice, LR 1B 1-4.

Before the court is Plaintiff's Motion Seeking Permission to File a Spoliation/Destruction of
Video Tape Evidence against Defendants. (ECF No. 100.) Defendants filed a response (ECF No. 106),
and Plaintiff filed a reply (ECF No. 111). The court held a hearing on the motion on September 21, 2017,
and issues this Report and Recommendation that the motion be granted in part and denied in part.

I. BACKGROUND

Plaintiff is an inmate in the custody of the Nevada Department of Corrections (NDOC),
proceeding pro se with this action pursuant to 42 U.S.C. § 1983. (Pl.’s Am. Compl., ECF No. 7.) The
events giving rise to this action took place while Plaintiff was housed at Northern Nevada Correctional
Center (NNCC). (/d.) Defendants are Ira Brannon and Christopher Smith.

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In the Amended Complaint, Plaintiff alleges that he was involved in an incident on March 28,
2015, with Correctional Officer C. Smith that resulted in disciplinary charges. (ECF No. 7 at 3-4.) That
incident, which allegedly involved the use of excessive force, is the subject of another lawsuit, Mizzoni
v. State of Nevada, 3:15-cv-00313-MMD-VPC. In this action, Plaintiff avers that C. Smith wrote a false
disciplinary report stating Plaintiff hit him in the temple, and a hearing was held on May 1, 2015. (Id.
at 3, 7.) Lieutenant Brannon was the hearing officer. (/d.) Plaintiff pleaded not guilty and stated he did
not hit Smith on March 28, 2015. (dd. at 3-4.) Plaintiff requested to present all witnesses to the incident,
as well as any video of the incident. (/d.) Brannon denied his request for witnesses, with the exception
of allowing Plaintiff's cellmate at the time of the incident to appear as a witness. (/d.) With respect to
the request to present video evidence, Brannon told Plaintiff there was no video of the incident, and then
that any video was for official use only. (/d.)

Particularly important for purposes of this motion is Plaintiff s allegation that there were inmates
all around at the time of the incident, and that there is a video camera in the unit that would have
captured the incident, as well as video from a hand-held video camera used by Sergeant Roberson. (/d.)
Plaintiff avers that prior to the disciplinary hearing, he wrote to Warden Walsh and asked for all video
evidence. (Id. at 4.)

Brannon found Plaintiff guilty of battery. (/d.) Plaintiff alleges that Brannon stated he was
punishing Plaintiff for prior incidents as far back as eight years ago, for which Plaintiff had already been
punished. (/d.) Plaintiff was sentenced to two years of disciplinary segregation. (Id. at 5.)

On screening, the court found Plaintiff stated colorable due process claims against both Brannon
and Smith. (ECF No. 10 at 6.) The claim against Brannon is based on the allegations that Plaintiff was
denied evidence and witnesses during his disciplinary hearing on May 1, 2015, and that Brannon
punished him for prior acts for which he had already received punishment. (/d.) The claim against Smith
is based on the allegation that Smith made a false disciplinary report, which is actionable if the inmate
is not afforded procedural due process in connection with the resulting disciplinary proceedings. (Id.)

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Plaintiff previously filed a motion for a court order for production of video evidence from the
night of March 28, 2015. (ECF No. 50.) The court held a hearing on this motion on July 24, 2017, where
Defendants maintained there was no video footage of the incident of March 28, 2015. Therefore, the
court denied the motion. (See ECF No. 95 at 2.) At the hearing, Plaintiff accused Defendants of
destroying the evidence. (/d.) The court advised Plaintiff that it could not address that topic at that time
because there was no spoliation motion before the court. (/d.) Plaintiff has now filed his spoliation
motion.

Il. LEGAL STANDARD

“Spoliation is ‘the destruction or significant alteration of evidence, or the failure to preserve
property for another’s use as evidence[,] in pending or reasonably foreseeable litigation.’”” Reinsdorf v.
Skechers U.S.A. Inc., 296 F.R.D. 604, 626 (C.D. Cal. July 19, 2013) (alteration original) (quoting
Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 216 (S.D.N.Y. 2003)). Thus, a party must preserve
evidence it knows or should know is relevant to a claim or defense of any party. See Reinsdorf, 296
F.R.D. at 626-27 (citations omitted); In re Napster, Inc. Copyright Litigation, 462 F.Supp.2d 1060, 1067
(N.D. Cal. 2006) (citations omitted). This duty arises not only during litigation, but extends to that
“period before litigation when a party should reasonably know that evidence may be relevant to
anticipated litigation.” Surowiec v. Capital Title Agency, Inc., 790 F.Supp.2d 997, 1005 (D. Ariz. 2011)
(citation and quotation marks omitted). Once the duty to preserve takes effect, a party must “suspend any
existing policies related to deleting or destroying files and preserve all relevant documents related to the
litigation.” In re Napster, 462 F.Supp.2d at 1070 (citations omitted).

There are two sources of authority under which a district court can sanction a party who has
engaged in spoliation of evidence: the inherent power of the court to levy sanctions in response to
abusive litigation tactics, and Federal Rule of Civil Procedure 37’s provision for sanctions against a party
who fails to obey an order to provide discovery. Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir.
2006) (citation omitted). Here, there is not a particular discovery order being violated; therefore, the
court’s analysis is based on the inherent power to sanction. Specifically, the court “‘has the inherent
discretionary power to make appropriate evidentiary rulings in response to the destruction or spoliation

of relevant evidence.’” Medical Laboratory Mgmt. Consultants v. American Broadcasting Companies,

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Inc., 306 F.3d 806, 824 (9th Cir. 2002) (quoting Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir.
1993)).

Courts may sanction parties responsible for spoliation of evidence in three ways. First,
a court can instruct the jury that it may draw an inference adverse to the party or witness
responsible for destroying the evidence. Second, a court can exclude witness testimony
proffered by the party responsible for destroying the evidence and based on the destroyed
evidence. Finally, a court may dismiss the claim of the party responsible for destroying
the evidence.

In re Napster, 462 F.Supp.2d at 1066 (internal citations omitted). “A party’s destruction of evidence
| need not be in ‘bad faith’ to warrant a court’s imposition of sanctions.” Jd. (citations omitted). “District
courts may impose sanctions against a party that merely had notice that the destroyed evidence was
potentially relevant to litigation.” Jd. (citations omitted). The “motive or degree of fault in destroying
evidence is relevant to what sanction, if any, is imposed.” Jd. at 1066-67 (citations omitted).

The applicable standard of proof for spoliation appears to be a preponderance of the evidence.
Krause v. Nevada Mut. Ins. Co., No. 2:12-cv-00342-JCM-CWH, 2014 WL 496936, at * 7 (D. Nev. Feb.
6, 2014). The party seeking spoliation sanctions has the burden of establishing the elements. Reinsdorf,
296 F.R.D. at 626.

It is not entirely clear what sanction Plaintiff seeks as he makes reference to “all relief” as well
as to ajury instruction. As the court will discuss further below, there is no specific evidence of bad faith
or the “outrageous” conduct that justifies dismissal; therefore, the court does not find any type of
directed verdict, dismissal or terminating sanction appropriate. See e.g. Pettit v. Smith, 45 F.Supp.3d
1099, 1113 (D. Ariz. 2014) (finding that case-terminating sanctions require conduct akin to bad faith);
In re Napster, 462 F.Supp.2d at 1066 (noting that dismissal is a severe sanction warranted by
“outrageous” conduct). Accordingly, the court will construe Plaintiff's motion as seeking an adverse
inference instruction.

The Ninth Circuit has not set forth a standard for an adverse inference instruction, but most
district courts have adopted the Second Circuit’s three-part test for determining whether an adverse
inference sanction is appropriate for spoliation. See e.g., Reinsdorf, 296 F.R.D. at 626 (citations

omitted); In re Napster, 462 F.Supp.2d at 1078. In such case, the moving party must establish:

(1) that the party having control over the evidence had an obligation to preserve it at the
time it was destroyed; (2) the records were destroyed ‘with a culpable state of mind’; and

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(3) that the evidence was ‘relevant’ to the party’s claim or defense such that a reasonable
trier of fact could find that it would support that claim or defense.

Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 107 (2d Cir. 2002).
III. DISCUSSION

Toreiterate, this action includes a claim that Brannon violated Plaintiff's due process rights when
Brannon denied Plaintiff the right to present video evidence and to call witnesses at a hearing on
disciplinary charges asserting that Plaintiff hit Smith when Plaintiff and Smith were involved in an
altercation on March 28, 2015. Specifically, Plaintiff requested to call all inmates who witnessed the
incident, and to present any video of the incident. Brannon denied the request for witnesses, except that
Brannon let Plaintiff's cell mate serve as a witness. With respect to the request to present video of the
incident, Plaintiff alleges that Brannon told him there was no video of the incident, and then that any
video was for official use only. Plaintiff was found guilty of battery, and sanctioned to disciplinary
segregation.
A. Pertinent Video Evidence

The court will first discuss which video evidence is subject to Plaintiff's spoliation argument.

Plaintiff's motion references video evidence from Units 5-8 from 8:00 p.m. to 9:30 p.m. on
March 28, 2015. Plaintiff's allegations in this action, insofar as they relate to this motion, are that
Brannon denied him the opportunity to present evidence or witnesses in a disciplinary hearing
conceming a charge that he assaulted Correctional Officer Smith. This alleged assault took place in Unit

5; therefore, footage from the other units, which go to other allegations of excessive force set forth in

Plaintiff's lawsuit in 3:15-cv-0033-MMD-VPC, are not relevant. as such, the court’s relevancy inquiry
will focus on video footage from Unit 5. te LS Pelepare Seve Foe sy Bo dys ‘ beL7y
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Insofar as video evidence from Unit ¥ is coricérmed, atten motion also references video from

Unit 5, as well as footage from any hand-held camera depicting the incident or witnesses to the incident.
| Plaintiff acknowledges Defendants’ representation the altercation between Plaintiff and Smith on
March 28, 2015 was not captured by any mounted cameras because the altercation occurred in the
rotunda of Unit 5, which does not have video camera coverage. Plaintiff's request for video evidence
also included video footage from elsewhere in Unit 5 which might have captured potential witnesses to

the altercation between Plaintiff and Smith, whom he could have called as witnesses at his disciplinary

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Finally, right tc tocle toa S camera operated by sergeant Roberson, however,
it was clarified at the hearing that this was a still-picture camera, and not a video camera.

In sum, the court’s analysis of Plaintiff's spoliation motion will focus on the purported
destruction or failure to preserve video evidence from Unit 5 that may have depicted witnesses to the
altercation between Plaintiff and Smith on March 28, 2015.

B. Obligation to Preserve the Video Evidence

“As soon as a potential claim is identified, a litigant is under a duty to preserve the evidence
which it knows or reasonably should know is relevant to the action.” Jn re Napster, 462 F.Supp.2d at
1067 (citations omitted); see also Surowiec v. Capital Title Agency, Inc., 790 F.Supp.2d 997, 1005 (D.
Ariz. 2011). The Ninth Circuit has held, however, that a party does not engage in spoliation of evidence
when, without notice of the evidence’s potential relevance, it destroys the evidence according to its
policy or in the normal course of its business. United States v. $40,955.00 in U.S. Currency, 554 F.3d
752 758 (9th Cir. 2009).

In his declaration Associate Warden at NNCC, Ronald Shreckengost, states that he did review
video from March 28, 2015 for housing units 4-8 at NNCC, and that it did not depict the incident
involving Plaintiff. (ECF No. 106-1 4 9.) At the hearing, the court asked defense counsel when Mr.
Shreckengost reviewed the video footage from March 28, 2015, and counsel represented that he did so
either on the date of the incident, March 28, 2015, or the following day, Insofar as the video taken may
have identified potential witnesses to the altercation, the declaration states that the video is on a
recording loop, which records over it every ten to fourteen days unless there is an incident, in which case
NDOC makes a copy of the recording and keeps it. (Jd.) He says that there was no significant incident
recorded that required NNCC to make a copy of the video footage from the units, and the video footage
was recorded over pursuant to NDOC policy, so there is no videotape footage of potential witnesses.
(ECF No. 106-1 ff 10-12.)

While it may not have depicted the incident between Plaintiff and Smith, other evidence in the
record suggests that the video footage taken from Unit 5 did depict inmates who may have witnessed

the altercation between Plaintiff and Smith. (See ECF No. 100 at 26.) Specifically, Frank Sherman stated

 

 
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14.

in his report that he began checking institutional cameras on the date of the incident—March 28,
2015—for Unit 5 and did not see the incident on camera. (ECF No. 100 at 26.) He did state that when
he checked the playback of the unit for any possible information nothing was seen except for inmates
“mingling in the wings.” (/d.) The court finds there is some question as to whether Mr. Shreckengost
| would have known that footage depicting only inmates “mingling in the wings” would have been
relevant to a claim at that point.

Plaintiff cleared this up, however, when he sent a kite to Warden Walsh on April 5, 2015,
specifically asking for this video footage, noting that the rotunda was full of inmates, and that he sought
the video to confront the witnesses and charges against him. (ECF No. 100 at 14.) At this point, th the
video footage would not yet have been recorded over pursuant to the policy described by Shreckengost;

yet, the video was still not retained. To be ‘clear, the duty to preserve evidence applies to ‘the period

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before litigation when a party reasonably should know that the evidence may be relevant to anticipated

‘video footage from Unit 5 depicting i inmates who may have witnessed the altercation between Plaintiff
and Smith was relevant to Plaintiff's claim when Plaintiff sent his request on April 5, 2015. At that
point, the routine video retention policy should have been suspended, and the video should have been

l preserved.

C. State of Mind and Relevance

“Courts have not been uniform in defining the level of culpability—be it negligence, gross
negligence, willfulness, or bad faith—that is required before sanctions are appropriate for evidence
destruction.” Reinsdorf, 296 F.R.D. at 627 (citation and quotation marks omitted). In the Ninth Circuit,

“a party’s destruction of evidence need not be in ‘bad faith’ to warrant a court’s imposition of sanctions.”

In re Napster, 462 F.Supp.2d at 1066 (citing Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir 1993)).

The state of mind, however, is “relevant to what sanction, if any, is imposed.” Jn re Napster, 462
F.Supp.2d at 1066-67. As indicated above, “[o]nly ‘wilfulness, bad faith, and fault’ justify terminating
sanctions.” Connecticut General Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th
Cir. 2007) (quoting Jorgensen v. Cassiday, 320 F.3d 906, 912 (9th Cir. 2003). Courts have held that the

“culpable state of mind” for an adverse inference instruction includes “simple notice of ‘potential

 

litigation. See Surowiec, 790 F.Supp.2d at 1005 (citations omitted). Walsh would have known that the |

 

 
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relevance to the litigation,’” gross negligence and even negligence. Reinsdorf, 296 F.R.D. at 627-28
(citations omitted). “[W]hen the spoliating party was merely negligent, the innocent party must prove
both relevance and prejudice in order to justify the imposition of a severe sanction.” Jd. (citation and
quotation marks omitted).

There is no specific evidence before the court indicating that the video evidence was destroyed
in bad faith, but there is at least evidence that NDOC officials allowed the evidence to be recorded over
despite being put on notice that it was relevant to Plaintiff's claim as of April 5, 2015.

This finding requires a return to the discussion of relevance and prejudice in terms of determining
what type of sanction, if any, is appropriate for the failure to preserve the video evidence here.

“*[RJelevance’ for spoliation purposes is a two-pronged finding of relevance and prejudice
because for the court to issue sanctions, the absence of the evidence must be prejudicial to the party
alleging spoliation of evidence.” Reinsdorf, 296 F.R.D. at 627 (citations and quotation marks omitted).
“The prejudice inquiry looks to whether the [spoiling party’s] actions impaired [the non-spoiling party’s]
ability to go to trial or threatened to interfere with the rightful decision of the case.” Leon, 464 F.3d at

959 (internal citation and quotation marks omitted) (alteration original).

The video footage showing potential witnesses to the altercation is certainly relevant to Plaintiff's
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claim that his. due process rights were violated at his disciplinary hearing when he was denied the right

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to present other witnesses and was denied the right to view video footage that might identify witnesses

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tod the incident where he was accused of hitting Smith. The absence of the video evidence is prejudicial
to Plaintiff in the sense that having that evidence would have helped him prove his claim that there were
other witnesses that he was precluded from calling at the hearing. The prejudice is limited, however,
because Plaintiff is in possession of a report where Frank Sherman affirmatively stated that he reviewed
video footage from Unit 5 and it showed other inmates mingling in the wings of the Unit 5 rotunda. He
can present this as evidence that there was video footage depicting other inmates who may have
witnessed the incident, and he was denied review of the video for the purpose of identifying and calling
other witnesses. Under these circumstances the court does not find it appropriate to recommend an

adverse inference instruction. See Apple Inc v. Samsung Electronics Co., Ltd. (Apple I]), 888 F.Supp.2d
976, 993 (N.D. Cal. 2012) (citations omitted) (even where three-part spoliation test is satisfied, a court

 

 
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may deny request for adverse inference where degree of fault and level of prejudice were insufficient
to justify the imposition of the sanction).
D. Appropriate Sanction

While the court does not find that an adverse inference instruction is appropriate, it concludes
that Plaintiff is entitled to some sort of relief for the failure to preserve the video evidence from the date
of the incident, which can at least be characterized as negligent. See Apple II, 888 F.Supp.2d at 993
(citing Schmid v. Milwaukee Elec. Tool Corp., 13 F.3d 76, 79 (3d Cir. 1994) (courts should choose “the
least onerous sanction corresponding to the willfulness of the destructive act and the prejudice suffered
by the victim’”)).

Here, the court finds a more appropriate sanction under the court’s inherent power would be to
allow Plaintiff to present evidence and argument to the jury that he asked for this video footage; that the
prison had a duty to preserve the footage once he asked for it; that other employees of the prison (and
not the Defendants) failed to preserve the video footage; and that the video would have shown there were
other inmates present in the wings of the Unit 5 rotunda that may have witnessed the incident between
Plaintiff and Smith.

E. Imputation

as
pbtr se Finally, the court must address the fact that there is no evidence that the parties to this

action—Brannon and Smith—had any responsibility for the failure to preserve the video evidence.
Instead, it was the responsibility of NDOC. Therefore, the court must decide whether NDOC’s failure
to preserve the evidence should be imputed to the Defendants.

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J District courts within this circuit have held that spoliation by a prison may be imputed to named

45 F.Supp.3d 1099 (D. Ariz. 2014). That case involved an Eighth Amendment excessive force claim,

supervisor, and the supervisor ordered the video erased several days after the incident. Pettit,

 

45 F.Supp3d at 1103. There, as is the case here, there was no evidence that the defendants named in the
case were responsible for destruction of the video, and the defendants argued that they therefore had no

duty to preserve the evidence. Jd. at 1106. The court disagreed, finding that the prison was “not a

defendants in circumstances similar to these. The seminal case on this topic appears to be Pettit v. Smith

and the plaintiff argued, inter alia, that the incident was recorded by a defendant, who turned it in to his )

 

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disinterested third party,” but was responsible for Defendants’ training and conduct, and had control over
the evidence and over the inmate’s ability to access the evidence, as well as the defendants’ ability to
preserve it. Jd. It also pointed out that the State of Arizona, of which the department of corrections was
an agency, indemnified employees for damages for which an employee became legally responsible
within the course and scope of employment. Jd. The state also funded the defense of their employees in
such lawsuits. Jd. As a result, the court determined that the prison “had a duty to preserve evidence
relevant to th{e] case once it knew that litigation was reasonably likely.” Jd. (citation omitted). The court
concluded that “there [was] strong reason to impute the spoliation of [the prison] to [the] Defendants
to ensure that fairness is done at trial.” Jd. at 1110. As a remedy, the court did not award the case
dispositive sanctions requested by the plaintiff, but instead ordered that the loss of evidence be explained
to the jury, and allowed the jury to infer that the lost evidence would have favored the plaintiff's
position. Jd. at 1110-11. The court pointed out that there would be “no suggestion ...to the jury that
Defendants themselves [were] in any way responsible for the loss of evidence.” Jd. at 1111.

Here, the court likewise finds that NDOC is not just a “disinterested third party.” The prison is
responsible for the training and conduct of its employees, and according to the declaration of
Mr. Shreckengost, appears to have had control over the video evidence. As in Pettit, the State of Nevada,
of which NDOC is a department, indemnifies employees for damages for which they become legally
responsible within the course and scope of employment, and funds the defense of employees in such
lawsuits when requested. See Nevada Revised Statutes (NRS) 41.0339, 41.0349. Therefore, the court

finds that the prison had a duty to preserve the video evidence once Ms. Walsh was put on notice that

itwas potentially relevant to Plaintiff's claim, and the prison failed to preserve the evidence. Under these |

circumstances, there are grounds for imputing the spoliation | to the Defendants.
IV. RECOMMENDATION
IT IS HEREBY RECOMMENDED that the District Judge enter an order GRANTING IN
PART AND DENYING IN PART Plaintiffs motion (ECF No. 100). Plaintiffs requests for some sort

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of dismissal sanction or per se adverse inference instruction should be denied. It is recommended,

 

however, , that the spoliation of the video! evidence be imputed to the named defendants and that as a
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sanction Plaintiff should be allowed t to © present evidence and argument to the j Jury t that he asked for this

 

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video footage; that the prison had a duty to preserve the footage once he asked for it; that other
employees of the prison (and not the Defendants) failed to ) preserve the video footage; @ and that the video
would have shown there \ were other inmates present in the wings of the e Unit 5 rotunda that may have
witnessed the incident between Plaintiff and Smith,
‘The parties should be aware of the following:

1. That they may file, pursuant to 28 U.S.C. § 636(b)(1)(C), specific written objections to this
Report and Recommendation within fourteen days of receipt. These objections should be titled
"Objections to Magistrate Judge's Report and Recommendation" and should be accompanied by points
and authorities for consideration by the district judge.

2. That this Report and Recommendation is not an appealable order and that any notice of appeal
pursuant to Rule 4(a)(1) of the Federal Rules of Appellate Procedure should not be filed until entry of
judgment by the district court.

DATED: September 27, 2017.

b.wt. CG. Cobt—

WILLIAM G. COBB
UNITED STATES MAGISTRATE JUDGE

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